Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 1 of 61




             EXHIBIT 7
       Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 2 of 61




                             UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA




 IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
 LIABILITY LITIGATION                            Case No. 16-md-02741-VC


 This document relates to:
 ALL ACTIONS




                             EXPERT REPORT OF DR. NABHAN
                        IN SUPPORT OF GENERAL CAUSATION
                               ON BEHALF OF PLAINTIFFS



I.BACKGROUND AND QUALIFICATIONS

       I am a board-certified hematologist and medical oncologist with a specialty in the

diagnosis and management of patients with all types of lymphoma, including non-Hodgkin

(NHL). I currently hold the position of Vice President and Chief Medical Officer of Cardinal

Health Specialty Solutions, a division of Cardinal Health, Inc headquartered in Dublin,

OH. Before that, I was an Associate Professor of Medicine for 3.2 years at the University

of Chicago in Chicago, IL, where I was the Medical Director of the Clinical Cancer Center

and the Director of the international program. I was an integral part of the lymphoid

malignancies program at the University of Chicago where I spearheaded several efforts

                                                                                          1
       Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 3 of 61




investigating treatment of lymphomas with novel agents. The University of Chicago is one

of only 41 institutions in the US that are designated by the National Cancer Institute as

comprehensive since it combines state of the art clinical, basic, preventive, and

epidemiological research. The Cancer Center saw 48,000 cancer visits in FY16 when I

was the medical director, of which almost 6,000 cases were new. Personally, I saw almost

30 lymphoma patients weekly of whom 4-5 patients were newly diagnosed. I was a

referral resource to many community oncologists in the Chicago area as well as the

Midwest region where complicated cases of lymphomas were sent to me for evaluation

and treatment. Many of my research presentations were featured at national and

international meetings (American Society of Hematology, American Society of Clinical

Oncology, European Hematology Association, and the International Lymphoma Meeting

held in Lugano Switzerland every 2 years). I was, and still am, a member of the Alliance

cooperative group for lymphoma where I participate in designing future research efforts

in the field. In addition, and during my tenure at the University of Chicago, I was an integral

member of the committee that initiated the cancer supportive care center where survivors

of cancer find helpful resources in all aspects of life. Further, I led the effort that led the

University of Chicago achieving the QOPI (Quality Oncology Practice Initiative)

certification, which is the highest quality award from the American Society of Clinical

Oncology. The QOPI certification demonstrates that a cancer center delivers the best

quality for patients diagnosed with cancer.

Prior to joining the University of Chicago, I was the Chief of Oncology and Hematology at

Advocate Lutheran General Hospital and the Medical Director of the Cancer Institute at

that hospital, located in Park Ridge, IL. I developed cancer screening programs and led


                                                                                              2
        Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 4 of 61




strategic and marketing efforts at this flagship hospital of Advocate Healthcare. Lutheran

General is a 620-bed community teaching hospital and is the tertiary referral center for

other advocate hospitals in the state of Illinois (13 other hospitals). Overall, my research

efforts over the past 17 years have focused on NHL, Hodgkin lymphoma (HL), and other

hematologic malignancies such as chronic lymphocytic leukemia (CLL). I have been

involved, and continue to be, in health outcome research studies where I investigate

disparities in clinical care and outcomes as well as the impact of external factors on these

outcomes. Disparities in care of NHL and CLL patients exist between younger and older

patients, men and women, and the elderly versus young. I also have special interest in

the economic impact of newer therapies on patient care and how we can identify methods

to reduce the overall cost of healthcare delivery in the US. I have published more than

200 manuscripts and abstracts. My attached curriculum vitae includes information on my

academic and clinical background as well as a list of my scholarly activities and seminars

in the field.

        I have been asked to provide an opinion to a reasonable degree of medical

probability on the association and causation of NHL and other hematologic malignancies

in individuals exposed to Glyphosate and Glyphosate based Formulations (GBFs). As

part of my clinical practice I regularly research the causes of NHL and how best therapies

are designed. My papers in the enclosed CV highlight some of this work . Understanding

disparities highlights plausible causes and allows possible investigation of modifiable risk

factors where applicable. Optimal care of NHL in any patient requires reducing exposure

to potential associated factors if known to this end, I regularly review NHL-related

epidemiological and mechanistic studies. I routinely study and incorporate epidemiology


                                                                                          3
       Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 5 of 61




and toxicology into my clinical practice, academic studies and present work; both serve

as important foundations to the practice of oncology.

      The opinions in this report are my own and are held to a reasonable degree of

medical and scientific certainty. These opinions were formed after comprehensive review

of medical literature focusing on epidemiologic studies and analyses, as well as my

background, education and experience.

II. NON-HODGKIN LYMPHOMA

      By way of background, lymphoid malignancies are a heterogeneous group of

disorders that differ histologically and molecularly; they originate from the lymphoid

system. In general, lymphomas are divided into HL and NHL. The former is sub-classified

into classical HL or Nodular Lymphocyte Predominant HL. The prognosis of HL and any

proposed treatment vary by stage, age of the patient, co-morbidities, and goals of therapy,

but it involves systemic chemotherapy with known side effects and adverse events. The

number of chemotherapy cycles and whether radiation is part of the treatment depend on

the stage and risk factors of the disease. NHL is divided into either B-cell or T-cell NHL

with the former being more common and having better prognosis in general. Although

there are many subtypes of NHL, they are often studied together, especially as to

causality, and are treated by the same specialist type (medical oncology).

T and B cell NHL could have similar clinical presentation although most T-cell NHL

individuals have more advanced stage at presentation and are less likely to respond to

treatment. On many occasions, the only way to differentiate between T and B-cell NHL is

by performing an excisional biopsy and to perform detailed pathologic examination along


                                                                                         4
       Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 6 of 61




with immunohistochemical and molecular studies. Whether B or T cell subtype, NHL

patients can carry either an indolent or aggressive course. Indolent disease is managed

chronically with options ranging from observation to stem cell and bone marrow

transplantation. Aggressive histologies are fatal without therapy; the cornerstone of which

is systemic chemotherapy. The type of chemotherapy use, duration, and whether

radiation is incorporated or not vary by disease stage, subtype, patient’s choice, co-

morbidities, and goals of treatment. As stated, some lymphomas are cured while others

are simply controlled. Even when cure is attained, the therapy used could lead to long-

term adverse events, side effects, and complications that leave patients with symptoms

that potentially impact quality of life adversely. Occasionally, chemotherapy used to treat

lymphomas could lead to secondary malignancies such as myelodysplasia or acute

leukemias.

       Regardless of the type and subtype of NHL, the natural history of each histology

varies widely. Indolent lymphomas can carry a long “latent” period. In other words, the

disease could be present for months to years before it is discovered and diagnosed, often

coincidently when a patient undergoes testing for something unrelated. By its nature,

some indolent NHL may have no symptoms at diagnosis but can progress over the years

and eventually cause symptoms that require therapy. Also, indolent NHL patients can

transform onto an aggressive histology. It is estimated that the rate of transformation is

5-10% per year and it should be suspected when patients with indolent disease start

having a more aggressive clinical course. Only a repeat excisional biopsy can determine

with certainty that a patient is having transformed aggressive lymphoma. Any indolent

lymphoma can transform into an aggressive histology at which point it should be treated


                                                                                          5
       Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 7 of 61




in an aggressive manner or the disease would be fatal. In contrast, aggressive NHL have

a short “latent” period and causes symptoms within weeks to months unless treated. As

an example, diffuse large B –cell lymphoma (DLBCL) patients succumb to the disease in

less than 12 months (in some reports 6 months) unless aggressively treated. This

observed variation is histology and host-dependent. Critical is to recognize the differences

in these so-called latent periods as patients are diagnosed and treatment decisions are

contemplated. Despite these differences, given the common origin of these lymphomas,

they can still be studied from a causality and an epidemiologic state as one entity

III. ETIOLOGIES of NHLs

       Numerous plausible etiologies have been promulgated about what causes NHL,

but one thing that appears clear is that oxidative stress and inflammation play a role. In B

cell lymphomas, studies have suggested that increasing oxidative stress targeting cancer

cells can lead to a therapeutic response. As stated, the risk of NHL has been associated

with inflammation with reactive oxygen species (ROS) generating pro-inflammatory

signals. Genetic variation in genes coding for Gluthathione peroxidase (enzyme that

protects against harmful effects of the ROS) lead to increased risks of developing

lymphomas (Lightfoot et al; Lymphoma Research; 2006). Analysis of genetic variation in

oxidative stress genes in two lymphoma case-control studies suggests a possible role for

oxidative stress in the risk of NHL. Gluthathione peroxidase (GPX1) is a gene that, when

mutated, had an adverse impact on survival and disease-specific survival in large cell

lymphoma. This suggests an important association of oxidative stress defense with

treatment failure in this aggressive lymphoma (Andreadis; Blood; 2007). Moreover, as

Redox mechanisms can be modified in hematologic malignancies, they may play a role

                                                                                          6
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 8 of 61




in cell survival and death. An older report showed that oxidative stress prohibits

lymphoma cell lines from undergoing apoptosis when exposed to chemotherapies (Lee

et al; JBC; 1999). These findings underscore that oxidants can manipulate cell death

pathways diverting the cell away from apoptosis and that agents inducing oxidative stress

can lead to cancer cells survival. The relationship between oxidative stress and NHL was

further highlighted in a study of 518 NHL cases compared with 597 controls of women in

Connecticut (Lan et al; Hum Gen; 2007). Single nucleotide polymorphisms (SNPs) in ten

candidate genes that mediate oxidative stress were analyzed. These polymorphisms

were associated with increased risk of various histologies of NHL suggestive that SNPs

in genes related to oxidative stress pathway may be associated with higher risks of NHL.

Similar findings were reported by others solidifying the relationship between oxidative

stress and increased risk to the development of NHL (Wang; Carcinogenesis; 2006).

       In cutaneous T cell lymphoma, the MUC1-C onco-protein plays a critical role in

cell regulation and protects against cytotoxic injury mediated by ROSs (Jain et al; Blood,

2015). Treating patients with MUC1-C inhibitors allowed ROS-mediated apoptosis and

necrosis. This underscores the role of oxidative stress and damage in the etiology of this

lymphoma.

IV. MECHANISTIC AND ANIMAL STUDIES OF GLYPHOSATE

      Glyphosate is commercially sold as Roundup and is a commonly used herbicide

in the US both on crops and on non-cropland areas. Glyphosate has been used since

1974 in Roundup, which is a combination of the active ingredient and other chemicals

including surfactant that enhances the spreading of spray droplets when they contact

foliage. Glyphosate is a broad-spectrum herbicide with primary mechanism being the

                                                                                        7
       Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 9 of 61




inhibition of the enzyme 5-enolpyruvoylshikimate 3-phosphate synthase, which is

essential for the formulation of aromatic amino acids in plants. Glyphosate has the highest

global production volume of herbicides and its largest use as stated is in agriculture. It

has been detected in the air during spraying, in water, and in food. The general population

is exposed when residing near sprayed areas, home use, and diet.

The interaction of glyphosate with skin through percutaneous absorption has been

studied. In vitro percutaneous absorption through human skin into human plasma as

receptor fluid was 2% over a concentration range of 0.5-154 micrograms/cm2 and a

topical volume range of 0.014-0.14 ml/cm2. Percutaneous absorption in vivo in rhesus

monkey was 0.8 +/- 0.6% for the low dose (25 micrograms/cm2) and 2.2 +/- 0.8% for the

high dose (270 micrograms/cm2). About 50% of the initially applied dose could be

recovered after 24 hour (Wester RC, 1991). In a more modern study that explored how

damaged skin due to occupational hazards or other reasons can be affected by

glyphosate (Nielsen et al, Arch Dermatol Res, 2007), it was shown that a mild damage to

the skin significantly increases the permeability, which could lead to pathologic changes

related to potential chemical exposure.

       Animal data have suggested a carcinogenic potential for glyphosate. Brammer et

al performed a 2-year study in which exposed male rats showed a statistically significant

trend in liver adenomas. No actual malignancies were reported in this study that was

conducted in the UK between 1998-2000; but renal papillary necrosis, hematuria, and

periodontal inflammation were all observed in males and females that were fed higher

doses of glyphosate acid. While some reports (Chruscielska et al, 2000) suggested lack

of pathogenic influence of glyphosate on neoplastic pathogenesis, others have suggested

                                                                                          8
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 10 of 61




changes consistent with carcinogenic potential. Sivikova (2009) showed chromosomal

aberrations in bovine lymphocytes, a finding that was more often seen when higher

concentrations of glyphosate were used. Peluso et al (1998) found that higher doses of

mixture compounds that include glyphosate could cause DNA damage and potentially

subsequent cellular toxicity resulting from such damage. These findings are critical, as

they have been observed in humans.

       In fact, DNA damage has been reported in biomonitoring studies (Pazy-Mino, Rev

Envi Health, 2011)(observing genetic damage in humans exposed to pesticides). The

DNA damage as a possible etiology to observed pathogenic effects is supported by

studies on genotoxicity of glyphosate. In a study from 2009 (Bolognesi), Women of

reproductive age (137 persons; 15-49-year-old) and their spouses (137 persons) were

interviewed to obtain data on current health status, history, lifestyle, including past and

current occupational exposure to pesticides, and factors including those known to be

associated with increased frequency of micronuclei, assign of genotoxicity. In this study,

blood samples were taken before spraying glyphosate, 5 days after, and again 4 months

after spraying. Micronuclei were discovered in lymphocytes of individuals exposed to

glyphosate. Interestingly, these observations persisted in some persons when samples

were compared at 5-days and 4 months after spraying.

       An updated review of the literature (using PubMed and Med-Line search engines)

evaluated 55 manuscripts that investigated the relationship between genotoxicity and

herbicide exposure, including glyphosate (Bolognesi; 2016). Majority of analyzed studies

reported positive findings with a validated genotoxicity assay and exposure. Positive

findings were noted for glyphosate. Notably, when proper personal protection is used,


                                                                                          9
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 11 of 61




there was less pesticide-induced genotoxicity. In contrast, subjects working in

greenhouses or during intensive spraying season and having acute exposure, showed

consistent increases in micronuclei frequency.

       Mechanisms by which glyphosate can induce injury such as this are unclear, but

oxidative stress has been suggested as a plausible pathogenic cause. The imbalance

between calcium levels and oxidative stress was shown as a possible cause for

glyphosate-induced proliferation in human keratocytes (George et al; Dermatology;

2013). This study highlighted glyphosate as possibly promoting proliferation in these cells

disrupting the balance between calcium and oxidative stress, which in turn could lead to

downregulation of mitochondrial apoptotic signaling pathways, a known etiology for

malignant potential and transformation. Oxidant stress as a possible etiology to cellular

damage has been reproduced by others (i. e. Lioi ei al, 1998; Lueken et al, 2004; and

Kwiatkowska et al, 2014).

       Mesnage et al reviewed toxicity studies between Roundup-treated rats and

controls but no conclusive answer could be derived. The authors noted that a definitive

answer about glyphosate carcinogenic effects in laboratory animals would come from in-

vivo carcinogenicity testing at environmentally relevant concentrations. The US-EPA

analyzed immunotoxicity studies in mice exposed to glyphosate and issued a report on

February 2013, the results of which were essentially negative. However, these

observations were in contrast with other studies where lethal toxicity was demonstrated

in other organisms. The lack of consistent reports in animal studies and the ubiquitous

use of glyphosate amongst farmers generated the need to conduct human studies and

analyses to determine whether this herbicide increases the neoplastic predisposition.



                                                                                        10
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 12 of 61




V. ASSESSMENT OF CARCINOGENIC RISK IN HUMANS

       a. Epidemiological studies

       Several epidemiological studies showed statistically significant increased risks

among people exposed to glyphosate. In a Canadian multicenter population-based study

(McDuffie et al, 2001), 517 cases and 1506 controls were assessed using a postal

questionnaire that was followed by a telephone interview for individuals reporting

pesticide exposure more than 10 hours per year. Notably, pathologists in participating

provinces were requested to send blocks or slides of tumor tissue to the reference

pathologist. As expected, not all samples were centrally reviewed. Among major chemical

classes of herbicides, the risk of NHL was statistically significantly increased among

glyphosate exposed individuals with an OR of 1.26 (95% CI: 0.87-1.80) which changed

slightly after adjustment for covariates to an OR of 1.2 (95%CI: 0.83-1.74). For individuals

exposed to glyphosate more than two days per year the OR was statistically significant

at 2.12 (1.20–3.73). These findings supported a plausible association between NHL and

pesticides. The authors approached this question by initially evaluating herbicides in

general and their association with NHL. They subsequently assessed various chemical

classes and individual chemicals.

       On behalf of the Swedish registry, Hardell et al (2002) analyzed their data on NHL

(404 cases and 741 controls) and hairy cell leukemia (111 cases and 400 controls) that

were previously published (see above) and analyzed the data collectively (515 cases and

1141 controls). Of the herbicides, glyphosate had an OR of 3.04 (95% CI: 1.08-8.52). In

a multivariate analysis adjusted for age, county, study site, and vital status, OR was 1.85

(95% CI: 0.55-6.20).

                                                                                         11
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 13 of 61




       De Roos (2003) conducted a pooled analysis of men that were enrolled in several

studies (Nebraska, Iowa, Minnesota, and Kansas), and analyzed findings collectively. In

Nebraska, the information were obtained through questioning the use of specific

pesticides with details on the total number of years of use and average number of days

per year. In Iowa and Minnesota, use was assessed by a direct question about a selected

list of specific pesticides. In Kansas, use of pesticides was assessed by a direct question

about a selected list of specific pesticides along with duration of use. In total, 650 cases

(response rate 75%) and 1933 controls (response rate 75%) were included for NHL

diagnosed between 1979-1986. OR for glyphosate increasing the risk of NHL was 2.1

(95% CI: 1.1-4.0). In another study, Lee et al investigated whether asthma modifies the

risk of NHL associated with pesticides exposure. Cases (872) diagnosed with NHL

between 1980-1986 and controls (2381) randomly selected from the same geographic

areas were included. The OR was 1.4 (95% CI: 0.98-2.1) in non-asthmatics and 1.2 (95%

CI: 0.4-3.3) in asthmatics who were exposed to glyphosate. Asthma history was based

on individual responses and was not verified.

       De Roos (2005) reported on results from The Agricultural Health Study (AHS). The

AHS is a prospective cohort study in Iowa and North Carolina, which includes 57,311

private and commercial applicators who were licensed to apply restricted-use pesticides

at the time of enrollment between 1993-1997. Comprehensive data on 22 pesticides were

collected using a self-administered enrollment questionnaire. Of note, the study began

by collecting baseline information from participants when they enrolled (1993-1997).

Follow up phone interviews were done in the second phase (1999-2003) and third phase

(2005-2010). However, phase 2 was completed by only 64% of the private applicators,


                                                                                         12
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 14 of 61




59% of commercial applicators, and 74% of spouses. Notably, phase 3 of the AHS

included updated information on farming practices, lifestyle, and overall health; however,

this phase was completed by only 46% of enrolled private applicators and 62% of enrolled

spouses. Participants completed the questionnaires either by mail, telephone, or through

the internet; for the first time, next of kin could provide general health update information

for   those     who     could    not     complete     the    questionnaires     themselves

(https://aghealth.nih.gov/about/).

Based on the AHS (De Roos et al, 2005), the relative risk of developing NHL in glyphosate

exposed individuals was 1.2 (95% CI: 0.7-1.9), but was 1.1 (95% CI: 0.7-1.9) after

adjustment for covariates. However, the risk for developing multiple myeloma, a form of

mature B-cell neoplasm, was 2.6 (95% CI: 0.7-9.4) after adjustment (factors includes age,

demographics, lifestyle factors, and other pesticides). These data and exposure

assessment was based on the questionnaires filled out at time of enrollment (1993-1997)

and included NHL cases through 2001.

       Using data from an Australian registry that investigated NHL cases diagnosed

between 1/1/2000-8/31/2001 (Fritschi et al, 2005), 694 cases and similar number of

controls were assessed. All cases were for individuals between the ages of 20-74 and all

cases were reviewed by a central pathologist who confirmed the report of consenting

patients. OR for all herbicides collectively was 3.29 (95% CI: 0.88-12.3) but no data on

glyphosate individually were reported. In this study, exposure was defined as more than

five 8-hour days in a year for a combined total of 5 years. Most people were exposed for

more than 6 months of use for 8-hours per day every day. Of note, some prior studies




                                                                                          13
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 15 of 61




that were highlighted above used “any” exposure more than 1 year as a proper definition.

The OR for substantial exposure to all herbicides was 4.83 (95% CI: 1.06-22.0).

      Data from the Swedish registry confirmed that duration of exposure might lead to

increased risks. Eriksson et al (2008) evaluated 910 cases (response rate 91%) of NHL

in patients 18-74 years of age and 1016 controls (92% response rate) to assess risk of

developing the disease in glyphosate-exposed individuals. This study divided NHL cases

into various histologic subgroups. Individuals exposed <=10 days to glyphosate had an

OR of 1.69 (95% CI: 0.70-4.07) while others with longer exposure at >10 days had an OR

of 2.36 (95% CI: 1.04-5.37). When assessing histologies, OR to developing diffuse large

B-cell lymphoma was 1.22 (95% CI: 0.44-3.35) while it was 2.29 (95% CI: 0.51-10.4) for

T-cell lymphoma and 5.63 (95% CI: 1.44-22.0) for unspecified NHL. Of note, T-cell

lymphoma generally has worse prognosis than B-cell disease and treatment options are

usually limited. Notably, large cell lymphoma and T-cell histologies are aggressive forms

of NHL where treatment is indicated.

      A French study that spanned 2000-2004 (Orsi et al, 2009), suggested increased

risk to developing HL and myeloma in patients exposed to pesticides. This study was

conducted among 6 centers looking at incident cases with lymphoid neoplasm diagnosis

in patients aged 18-75 years. Control cases were patients with rhematology and/or

orthopedic problems within the same participating institutions. Exposures were evaluated

through specific interviews and case-by-case expert reviews. In this study, little evidence

was shown in this study as to the relationship between NHL and exposure. This might be

a sample effect as only 244 cases of NHL were evaluated in this study.




                                                                                        14
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 16 of 61




       In another European study and with a larger sample size, Cocco et al (2013)

compared 2348 NHL cases with 2462 controls between 1998-2003, who were present in

6 European countries (Czech Republic, France, Germany, Italy, Ireland, and Spain). The

authors found that OR for NHL in glyphosate-exposed individuals was 3.1 (95% CI: 0.6-

17.1). This finding might suggest that the aforementioned French study was partially

negative for NHL association due to sample size.

       While most of epidemiologic studies were conducted in men, a population-based,

incidence case-control study was performed in 376 women residing in New York who

developed NHL (Kato et al. 2004). These cases were compared with 463 controls

selected from the Medicare beneficiary files and state driver’s license records. The risk of

NHL increased in women who worked at least 10 years at a farm where pesticides were

used (OR: 2.12; 95% CI 1.21-3.71). Not surprisingly, duration of exposure correlated with

higher risks.

b. META-ANALYSES

       Schinasi and Leon performed a systematic review and a Meta-Analysis to better

understand the association between agricultural pesticide chemical groups and NHL

development. To do so, the search included articles published in English since 1980 until

2014. When repeated papers were reviewed, the one with the most complete and

updated analysis was used. Starting with 858 articles, 44 only were included in the

qualitative analysis and of these, 20 papers provided estimates of association with

herbicide chemical groups or active ingredients, 4 provided association with fungicides,

and 17 with insecticides. Of the included papers, several had data on glyphosate (Cantor

et al, 1992; Cocco et al, 2013; De Roos et al, 2003; De Roos et al, 2005; Eriksson et al,

                                                                                         15
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 17 of 61




2008; Hardell et al, 2002; and Orsi et al, 2009). The studies that were analyzed in this

Meta-Analysis were performed in the US, Canada, Europe, Australia, and New Zealand.

Most papers were restricted to men. This Meta-Analysis found an association between

glyphosate and B-cell lymphoma with an OR 2.0 (95% CI: 1.1-3.6) and this was the same

OR for diffuse large B-cell lymphoma. This Meta-Analysis represented a summary of the

data published in the preceding 25 years, and solidifies a plausible association between

glyphosate and NHL evolution and development.

      Another Meta-Analysis was reported by Chang and Delzell (J Enviromental

Science and Health; 2016). Glyphosate was found to increase the risk of NHL at a relative

risk of 1.3 (95% CI: 1.0-1.6). Similarly, RR for myeloma was 1.4 (95% CI: 1.0-1.9). This

Meta-Analysis included original studies discussing the topic, which were reported on

PubMed and Google Scholar along with additional references that were found in the

bibliography of review articles. Collectively, 19 articles were included as well as one

abstract and one letter to the editor. When analyzing NHL by subtype, RR for B-cell

lymphoma was 2.0 (95% CI: 1.1-3.6). For CLL, RR was 1.3 (95% CI:0.2-10.0), follicular

lymphoma 1.7 (95% CI: 0.7-3.9). Notably, no increased risk for HL was found in this study.

To the contrary, Greim et al suggested lask of association (Crit Rev Toxicology; 2015),

however one of the co-authors of this work was employed by Monsanto and provided

ghostwriting making me question the credibility of this work.

c. SYSTEMATIC REVIEWS

      i. International Agency for Research on Cancer (IARC)




                                                                                       16
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 18 of 61




       Aside from peer-reviewed research investigations, governmental and independent

agencies conducted their own research to further delineate the relationship between

glyphosate exposure and risks of developing NHL. To that end, the International Agency

for Research on Cancer (IARC), a division of the WHO provided a summary of its opinion

on the carcinogenicity of five organophosphate pesticides. To reach a conclusion, IARC

evaluated the epidemiologic studies, most of which were summarized above, as well as

reports from the US-EPA and concluded that glyphosate is probably carcinogenic to

humans increasing the risk, among others, of NHL. The analysis was also supported by

animal studies and in-vitro findings where DNA damage and chromosomal changes were

also seen; these are generally predisposing to cancer. The level of evidence supported

probable causality (level 2A), which is a strong evidence given the difficulty in conducting

any type of prospective analysis or randomized studies in these situations. IARC report

was conceived in 2015 after an in-person meeting took place between 17 experts in the

field form 11 countries. This meeting took place after a 3-months period of reviewing the

literature and analyzing all available data and evidence. Important to note that the IARC

observed glyphosate being detected in the blood and urine of agricultural workers,

indicating absorption. Soil microbes degrade glyphosate to aminomethylphosphoric acid

(AMPA). The IARC investigators noted how glyphosate induces DNA and chromosomal

damage in mammals and human and animal cells in vitro. The preponderance of

evidence concluded an association between glyphosate and NHL and led the scientists

to         declare          this          as          level         2A           (probable)

(http://www.iarc.fr/en/mediacentre/iarcnews/pdf/MonographVolume112.pdf). This would

be the highest level of evidence possible short of a “definitive” association. Notably, this



                                                                                         17
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 19 of 61




IARC report was in contrast with a different study prepared by the German Federal

Institute for Risk Assessment (BfR) which concluded that glyphosate is unlikely to be

carcinogenic to humans. As the BfR report was the basis of how the European Food

Safety Authority (EFSA) evaluates food safety, it became critical to comprehensively

assess the BfR data given these conflicting reports.

       ii. EPA SAP Panel Review:

       In September 2016, the Office of Pesticide Programs (OPP) of the EPA released

a position paper on the carcinogenic potential of glyphosate. The OPP proposed a finding

that glyphosate was not likely to be carcinogenic to humans. The OPP analysis was

subjected to review by a Scientific Advisory Panel (SAP) commissioned by the EPA. The

SAP included members that represented all stakeholders and investigated methodologies

and findings. While the panel found that the EPA literature review methods as transparent

and appropriate in general, the members provided recommendations for updated

searches as recent data were not included or analyzed. In fact, the panel recommended

that the EPA contacts the AHS investigators to determine whether updated data on

incidence of NHL and other cancers are available. The EPA clearly criticized the AHS

publication (De Roos et al; 2005) for its limited follow up period and the drop off in

questionnaires’ answering. The panel commented on the unusually low number of

epidemiological studies identified through searches of PubMed, Science Direct®, and

Web of Science™, which may indicate the need to utilize more comprehensive and

sensitive techniques in conducting searches of the databases than what was employed.

Overall, the panel members concluded that the EPA evaluation does not appear to follow

the EPA (2005) cancer guidelines, notably for use of historical control data and statistical

                                                                                         18
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 20 of 61




testing requirements. Regarding historical controls, the Panel noted that the default

position should be to not rely on historical control data except when concurrent controls

yield clearly unreliable results. The Panel recommended that EPA articulate why historical

control data were incorporated into some of its analyses and not in others. Regarding

statistical testing requirements, the Panel noted that requiring a significant pairwise

comparison corrected for the number of pair-wise tests in addition to a significant trend is

neither consistent with the 2005 Guidelines for Carcinogen Risk Assessment nor a

conservative approach for public health protection.

The panel further noted that the EPA inappropriately placed greater weight on the AHS

study than the case-control studies noting “the usual higher ranking of cohort studies vis-

à-vis case-control studies is not applicable in this particular review” and that the AHS

study “has certain limitations that do not justify its separation into a higher quality ranking

over the studies classified as having ‘moderate quality.’”

In the end the panel was split with some members concluding that “the weight-of-evidence

conclusion based on EPA’s 2005 Guidelines naturally leads to suggestive evidence of

potential carcinogenic effects,” while other member agreed with the OPP.

VI. Application of Bradford Hill Criteria: The Bradford-Hill criteria (J Roy Soc Med

1965:58:295-300)

   1. Strength of the association: Critical to note that small association does not

       preclude a causal effect. In reviewing the evidence and the epidemiologic studies

       cited above, glyphosate appears to increase the risk of NHL and other lymphoid

       malignancies by an OR from 1.2->4.


                                                                                            19
  Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 21 of 61




2. Consistency and reproducibility of findings: Studies stated above showed

   consistent results. Some of these studies were done in the US while others were

   conducted in Canada, Australia, and Europe. The consistent findings that

   glyphosate increases the OR of developing NHL across studies and in different

   continents, supports the relationship and argues for plausible association.

3. Specificity: In reviewing the studies, a common theme emerges. Farmers and

   individuals with an exposure to glyphosate via agricultural work appear to have

   higher risk of developing NHL.

4. Temporality: Epidemiologic evidence showed that individuals with exposure have

   increased risk of developing NHL while matched controls do not. Exposed

   individuals did not have other risk factors prior to exposure that would suggest they

   had an increased risk to developing lymphomas.

5. Biological Gradient: Some studies have suggested higher risk with more

   exposure.

6. Plausibility: In reviewing some of the cellular toxicity that glyphosate exerts,

   genotoxicity, DNA damage, and chromosomal aberrations were noted, all of which

   are mechanisms by which cancers in general and lymphomas in particular could

   develop and emerge. In addition, oxidative stress is a known risk factor to

   developing NHL, and glyphosate has been shown to increase cellular oxidative

   stress.

7. Coherence: Cellular studies, animal studies, and human studies were all

   consistent in showing an association between glyphosate and NHL. This

   consistent finding supports the accuracy of epidemiologic research cited above.



                                                                                     20
       Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 22 of 61




   8. Experiment: When investigating causality of external factors to developing

       malignancies, conducting prospective randomized studies is impossible and

       unethical. To study this type of research, scientists must rely on retrospective

       analysis as stated above. Understanding this causality however allows protecting

       future individuals from developing deadly diseases.

   9. Analogy: Some of the cited studies showed that other herbicides could also

       increase the risks of developing NHL supporting that could be a class effect as




CONCLUSIONS

       Glyphosate has been used extensively worldwide and compelling data exists on

association between glyphosate and development of NHL. This is based on epidemiologic

evidence, animal studies, cellular data, genotoxicity, and other demonstrated evidence

discussed above; all of this is supported by the application of the Bradford-Hill criteria,

which suggest a strong epidemiologic association and causality.

The level of evidence on glyphosate association with NHL is strong as detailed above; in

conclusion, my opinions are:


   x   The use of Roundup can cause or be a substantial contributing factor to the

       development of any subtype of non-Hodgkin lymphoma

   x   Dose response effect is seen in some case-control studies, which reach positive,

       statistically significant results on the association of Roundup and NHL

   x   Such a dose-response effect is strong evidence of causality




                                                                                         21
       Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 23 of 61




   x   The    weight   of   the    scientific   evidence   supports    causality   between

       Roundup/glyphosate exposure and NHL.

Date: April 28, 2017




Chadi Nabhan, M.D.




   x   CV is attached hereto

   x   Dr. Nabhan has not testified in any litigation in the past four years

   x   Dr. Nabhan’s rate for expert consulting/testimony is $550 per hour




                                                                                        22
Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 24 of 61




Attachment A
Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 25 of 61
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 26 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                 Page 2


8/14 – 7/16          Masters of Business Administration (MBA) with focus on Health Care
                     Management. Loyola University Quinlan School of Business (Graduating in July
                     2016)

LICENSING AND BOARD CERTIFICATION

11/98 - 11/08        Diplomat, Internal Medicine, American Board of Internal Medicine
11/02 - 11/12        Diplomat, Medical Oncology, American Board of Internal Medicine
11/02 - 11/12        Diplomat, Hematology, American Board of Internal Medicine
11/08 - 11/18        Re-certified, Internal Medicine, American Board of Internal Medicine
11/10 - 11/22        Re-certified, Medical Oncology, American Board of Internal Medicine
11/10 - 11/22        Re-certified, Hematology, American Board of Internal Medicine
1997 -               State of IL license: 036-095980 (expires: 07/31/2017)
1997 -               State of WI license: 38627-20 (expires: 10/31/2017)
1999 -               State of IN License: 01051164A (expires 10/31/2017)
2008 -               State of FL license: ME-101853 (expires: 01/31/2016)
2015-                State of CA license: 137816 (expires 8/31/2017)
2002 -               DEA# BN-7399795 (expires: 10/31/2016)

PROFESSIONAL SOCIETIES

1996 -               American College of Physicians (ACP)
1999 -               American Society of Hematology (ASH)
1999 -               American Society of Clinical Oncology (ASCO)
2000 -               American Association of Cancer Research (AACR)
2007 -               American Society of Blood and Marrow Transplantation (ASBMT)
2014-                International Society of Geriatric oncology (SIOG)
2015-                Member of the European Hematology Association (EHA) Lymphoma Group
2016-                American College of Health Executives


HONORS, PRIZES, AND AWARDS

1990                 Best student in community services for underdeveloped regions in Syria; Part of
                     a community-based rotation during 5th year of medical school
1991                 Top10% of medical school graduating class, Damascus University Medical
                     School, Damascus, Syria
2000 - 2002          National Cancer Institute funded Fellow on Clinical Oncology Research Training
                     Program (Grant # 5T32 CA 79447); Northwestern University Feinberg School of
                     Medicine, Chicago, IL
2001 - 2002          Chief Fellow, Hematology and Medical Oncology, Northwestern University
                     Feinberg School of Medicine
2002                 Elected as a member in the American Registry of Outstanding Professionals
2004 - 2012          Various “Compassionate-Spirit” Awards, Advocate Lutheran General Hospital,
                     Park Ridge, IL
2005                 Teaching Achievement of the Year Award, Department of Medicine, Advocate
                     Lutheran General Hospital, Park Ridge, IL
2007                 Inducted as a Fellow to the American College of Physicians
2008                 Valuable Leader for “Excellence” Award, Advocate Lutheran general Hospital,
                     Park Ridge, IL
2008 - 2010          Patients’ Choice Awards at www.vitals.com
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 27 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                     Page 3


2010                  Valuable Leader for “Compassion” Award, Advocate Lutheran General Hospital,
                      Park Ridge, IL
8/2011                Selected to be featured on “Recognizing our Physicians” wall for “Exceptional”
                      patient care, Advocate Lutheran General Hospital, Park Ridge, IL
12/2012               Selected as an ASH (American Society of Hematology) abstract reviewer for the
                      Annual ASH meeting, Atlanta, GA; Category: Lymphoma, Chemotherapy,
                      excluding pre-clinical models.
3/2013                Spirit Award for “Compassion”, Advocate Lutheran General Hospital, Park Ridge,
                      IL
5/2014                Selected to serve as a member on the ASCO Health Disparities Committee
7/2014                Selected to serve as a member on the ASH Digital Education Working Group; a
                      subcommittee of the ASH Educational Affairs Committee
8/2015                Selected among the Top Cancer Doctors in the US by Newsweek Health
                      (http://www.newsweek.com/top-cancer-doctors-2015?page=26&group=state)
1/2016                Selected in the TOP-Doctors Chicago Magazine issue for top doctors; category:
                      Medical Oncology
                      (http://www.chicagomag.com/Chicago-Magazine/January-2016/Top-
                      Doctors/Cancer/)

CLINICAL

3/03 - 6/13           Hematology and Medical Oncology in-patient service (4-weeks/year), Advocate
                      Lutheran General Hospital, Park Ridge, IL
7/06 - 6/13           Hematology and Oncology Fellows’ clinic (1-2 half/days a week), Advocate
                      Lutheran General Hospital, Park Ridge, IL
7/13 -                Medical Oncology in-patient service (4-weeks/year)
                      The University of Chicago Hospitals, Chicago, IL
7/13 -                Hematology and Oncology Fellows’ clinic (Lymphoma and Genitourinary clinics)
                      3 half-day clinics per week
                      The University of Chicago Comprehensive Cancer Center, Chicago, IL


SCHOLARSHIP/PUBLICATIONS

Peer-reviewed publications in primary literature, exclusive of abstracts (trainees underlined):

   1. Nabhan C, Xiong Y, Xie L, Abou-Samra AB. July 1995. The alternatively spliced type II
      Corticotropin- Releasing Factor stably expressed in LLCPK-1 Cells is NOT well coupled to G
      protein (s). Biochem and Bioph Res Comm, Vol 212, No 3.
   2. Nabhan C, Rosen ST. January 2002. Conceptual aspects of combining Rituximab and
      CAMPATH-1H in refractory chronic lymphocytic leukemia. Seminars in Oncology, Vol 29: Issue
      1, Suppl 2, 75-80.
   3. Nabhan C, Tallman MS, Peterson L, Kent S, Dewald G, Multani P, Gordon LI. November 2002.
      Secondary acute myeloid leukemia with MLL gene rearrangement following
      radioimmunotherapy (RAIT) for non-Hodgkin’s lymphoma. Leukemia and Lymphoma, Vol 43,
      Issue 11, 2145-2149.
   4. Nabhan C, Gajria D, Krett NL, Gandhi V, Rosen ST. November 2002. Caspase activation is
      required for gemcitabine-induced apoptosis in multiple myeloma cell lines. Molecular Cancer
      Therapeutics, Vol 1, No 13, 1221-1227.
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 28 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                  Page 4


   5. Krett NL, Ayres M, Nabhan C, Ma C, Nowak B, Nawrocki S, Rosen ST, Gandhi V. May 2004.
      In vitro assessment of nucleoside analogs in multiple myeloma. Cancer Chemotherapy and
      Pharmacology, Vol 54, 113-121.
   6. Nabhan C, Rundhaugen L, Riley MB, Boehlke L, Jatoli M, Rademaker A, Tallman MS. August
      2004. Gemtuzumab Ozogamicin (Mylotarg) is infrequently associated with Sinusoidal
      Obstructive Syndrome. Annals of Oncology, Vol 15, 1231-1236.
   7. Parmar S, Rundhaugen LM, Boehlke L, Riley MB, Nabhan C, Raji A, Tallman MS. September
      2004. Phase II Trial of Arsenic Trioxide (ATO) in Relapsed and Refractory Acute Myeloid
      Leukemia, Secondary Leukemia, and/or Newly Diagnosed Patients ≥ 65 Years Old. Leukemia
      Research, Vol 28, Issue 9, P 909-919.
   8. Krett NL, Davis KM, Ayers M, Ma C, Nabhan C, Gandhi V, Rosen ST. November 2004. 8-
      Amino-Adenosine is a Potential Therapeutic Agent for Multiple Myeloma, Molecular Cancer
      Therapeutics, 3 (11), 1411-1420.
   9. Nabhan C, Patton D, Gordon LI, Riley MB, Kuzel T, Tallman MS, Rosen ST. November 2004.
      A pilot trial of Rituximab and Alemtuzumab combination therapy in patients with relapsed and/or
      refractory chronic lymphocytic leukemia (CLL). Leukemia and Lymphoma, Vol 45, 11. P 2269-
      2273.
   10. Nabhan C, Rundhaugen LM, Riley MB, Rademaker A, boehlke L, Jatoi M, Tallman MS.
       January 2005. Phase II pilot trial of Gemtuzumab Ozogamicin (GO) as first line therapy in acute
       myeloid leukemia patients’ age 65 or older. Leukemia Research, 29 (1), 53-57.
   11. Nabhan C. A simple Wish…Unfulfilled. March 2006. J Clin Oncol. 24 (7), 1217-1218.
   12. Nabhan C, Ragam A; Samuels B; Milton DT; Prasad L; Hooberman A; Hartsell W; Anthony A;
       Weiseman R; Bitran JD. March 2007. Mitomycin-C, 5-Fluorocracil, Leucovorin, and
       Hyperfractionated Irradiation Therapy for rectal carcinoma: A phase II study with long-term
       follow-up. Clinical Colorectal Cancer, Vol 6, 436-441.
   13. Morowa E, Ragam A, Sirota R, and Nabhan C. April 2007. Hodgkin Lymphoma involving the
       central nervous system, J Clin Oncology, Vol 25 (11), 1437-1438.
   14. Ragam A, Apichai S, Radhakrishnan A, Gonzalez M, Laurie T, and Nabhan C. December
       2008. Extragonadal choriocarcinoma in Ulcerative Colitis, J Clin Oncology, Vol 26 (35) 5813-
       5814.
   15. Nabhan C. Clofarabine in relapsed lymphoma. What is the optimal dose? July 2009.
       Leukemia and Lymphoma Vol 50 (7), 1230-1231.
   16. Radhakrishnan A, Bitran JD, Milton DT, Tolzien K, Hallmeyer S, and Nabhan C. August 2009.
       Docetaxel and Oxaliplatin as a first line therapy for advanced Non small cell lung cancer: a
       Phase II Trial. J Chemotherapy, Vol 21 (4), 439-444.
   17. Nabhan C. How could you do this Doctor? September 2009. Am J Hosp Palliat Care, Vol 26
       (4), 239-240.
   18. Nabhan C, Lestingi TM, Galvez A, Tolzien K, Kelby SK, Tsarwhas D, Newman S, Bitran JD.
       September 2009. Erlotinib has modest activity in chemotherapy-naive castration-resistant
       prostate cancer: Final results of a phase II trial. Urology, Vol 74 (3), 665-671.
   19. Nabhan C and Radhakrishnan A. October 2009. Aplastic anemia surfacing after treatment of
       acute promyelocytic leukemia: The Dameshek Riddle. Clin Advan Hematology and Oncology,
       Vol 7 (9).
   20. Nabhan C. I need a hug, please! November 2010. Am J Hosp Palliat Care, Vol 27(7):500-1.
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 29 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                  Page 5


   21. Nabhan C, Davis N, Bitran JD, Galvez A, Fried W, Tolzien K, Foss S, Dewey WM, Venugopal
       P. April 2011 (Epub ahead of print 11/2010). Efficacy and safety of clofarabine in relapsed
       and/or refractory non-Hodgkin lymphoma, including rituximab-refractory patients. Cancer, Vol
       117(7): 1490-7.
   22. Nabhan C, Meyer A, Tolzien K, Bitran JD, Lestingi TM. July 2011. A Phase II Pilot Trial
       Investigating the Efficacy And Activity of Single Agent GM-CSF as Maintenance Approach in
       Castration-Resistant Prostate Cancer Patients Responding to Chemotherapy. Avicenna Journal
       of Medicine, 1: 12-17
   23. Jabbari S, Pins M, Kruczek KR, and Nabhan C. October 2011. Erlotinib eradicates brain
       metastases from EGFR mutant non-small cell lung cancer. Avicenna Journal of Medicine, Vol
       1, Issue 2, P52-54.
   24. Nabhan C, Smith, SM, Helenowski,I, Ramsdale E, Karmali R, Parsons B, Feliciano J, Hanson
       B, Smith S, McKoy J, Larsen A, Hantel A, Gregory S, Evens AM. January 2012 (Epub ahead of
       print 11/2011). Analysis of Very Elderly (≥ 80 Years) Non-Hodgkin Lymphoma: Impact of
       Functional Status and Co-Morbidities on Outcome. Br J Hematology, Vol 156(2):196-204.
   25. Evens AM, Helenowski I, Ramsdale E, Nabhan C, Karmali R, Hanson B, Parsons B, Smith SE,
       Larsen A, McKoy J, Jovanovic B, Gregory SA, Gordon LI, Smith SM. January 2012 (Epub
       ahead of print 11/2011) A Retrospective Multicenter Analysis of Elderly Hodgkin Lymphoma:
       Outcomes and Prognostic Factors in the Modern Era. Blood. Vol 19; 119(3): 692-5.
   26. Nabhan C, Villines D, Dalal N, Tolzien K, Kozloff M, Starr A. Bortezomib (Velcade), Rituximab,
       Cyclophosphamide, and Dexamethasone (VRCD) combination regimen is active as front-line
       therapy of low-grade non-Hodgkin lymphoma. February 2012 (Epub ahead of print 7/2011).
       Clinical Lymphoma, Myeloma, and Leukemia. Vol 12(1): 26-31.
   27. Armand P, Kim HT, Zhang M, Perez WS, Dal Cin P, Klumpp TR, Lazarus HM, Artz AS, Gupta
       V, MD, Isola LM, Halter J, Cutler CS, Rowe JM, Antin JH, Camitta BM, Cairo MS, Sierra J, Stiff
       PJ, Nabhan C, Jakubowski AA, Devine SM, Maziarz RT, Marks DI, Soiffer RJ, Weisdorf DJ.
       February 2012 (Epub 7/2011). Classifying Cytogenetics in patients with AML in complete
       remission undergoing allogeneic transplantation: A CIBMTR study. Biol Blood Marrow
       Transplant. Vol 18(2): 280-8.
   28. Nabhan C, Byrtek M, Taylor MD, Friedberg JW, Cerhan JR, Hainsworth JD, Miller TP, Hirata J,
       Link BK, Flowers C. October 2012 (Epub ahead of print 3/2012). Racial Differences in
       Presentation and Management of Follicular Non-Hodgkin Lymphoma in the United States:
       Report from the National LymphoCare Study. Cancer, 118(19): 4842-50.
   29. Nabhan C, Tolentino A, Meyer A, Tallman MS. May 2012 (Epub ahead of print 12/2011).
       Cutaneous involvement with acute lymphoblastic leukemia. Leukemia and Lymphoma. Vol
       53(5): 987-9.
   30. Nabhan C, Villines D, Valdez TV, Tolzien K, Lestingi TM, Bitran JD, Christner SM, Egorin M,
       Beumer JH. August 2012 (Epub ahead of print 7/2012). Phase I Study investigating the Safety
       and Feasibility of combining Imatinib Mesylate (Gleevec) with Sorafenib in Patients with
       Refractory Castration-Resistant Prostate Cancer. British J Cancer, 107(4): 592-7.
   31. Nabhan C. July 2012 (Epub ahead of print 4/2012) Her Wedding. J Clin Oncology. Vol: 30(21):
       2701-2.
   32. Keating A, DaSilva G, Pérez WS, Gupta V, Cutler CS, Ballen KK, Cairo MS, Camitta BM,
       Champlin RE, Gajewski JL, Lazarus HM, MD, Lill M, Marks DI, Nabhan C, Schiller GJ, Socie G,
       Szer J, Tallman MS, Weisdorf DJ. February 2013 (Epub ahead of print 9/2012). Autologous
       Blood Cell Transplantation Versus HLA-Identical Sibling Transplantation For Acute Myeloid
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 30 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                    Page 6


       Leukemia In First Complete Remission: A Registry Study From The Center For International
       Blood and Marrow Transplantation Research. Haematologica, Vol: 98(2): 185-92.
   33. Nooka AJ, Nabhan C, Ajay K, Zhou X, Taylor MD, Byrtek M, Miller TP, Friedberg JW, Zelenetz
       AD, Link BK, Cerhan JR, Dillon H, Levy D, Hirata J, Flowers CR. February 2013 (Epub ahead of
       print 10/2012). Examination of the follicular lymphoma international prognostic index (FLIPI) in
       the National LymphoCare study (NLCS): A US patient cohort treated predominantly in
       community practices. Annals of Oncology, Vol: 24(2): 441-8.
   34. Kruczek K, Ratterman M, Tolzien K, Sulo S. Lestingi TM, and Nabhan C. October 2013 (Epub
       ahead of print, 9/5/2013). A phase II study evaluating the toxicity and efficacy of single agent
       temsirolimus (Torisel) in chemotherapy-naïve castration-resistant prostate cancer. British
       Journal of Cancer, Vol 109 (7), 1711-1716
   35. Ratterman M, Kruczek K, Sulo S, Shanafelt TD, Kay NE, and Nabhan C. September 2013.
       Extra-medullary chronic lymphocytic leukemia: Systematic review of cases reported between
       1975 and 2012. Leukemia Research, EPub ahead of print, September 6, 2013;38(3):299-303,
       March 2014
   36. Evens AM, Carson KR, Browning V, Nabhan C, Helenowski I, Islam I, Jovanovic B, Barr PM,
       Kolesar J, Caimi PF, Gregory SA, Gordon LI. December 2013 (Epub ahead of print,
       10/20/2013). A multicenter phase 2 study incorporating high-dose rituximab and liposomal
       doxorubicin into the CODOX-M/IVAC regimen for untreated Burkitt lymphoma. Annals of
       Oncology, Vol 24 (12), 3076-3081
   37. Nabhan C, Ollberding HJ, Villines D, Chiu BCH, Valdez TV, Ghielmin M, Schmitz SFH, Smith
       SM. November 2013. A Systematic Review of Comparative Schedule-Related Toxicities with
       Maintenance Rituximab in Follicular and Mantle Cell Lymphoma (Leukemia and lymphoma,
       EPub ahead of print, September 2, 2013), February 2014, Vol 12 (1), pages 27-32
   38. Nabhan C, Patel A, Villines D, Tolzien K, Kelby SK, Lestingi TM. Lenalidomide monotherapy in
       chemotherapy-naïve castration-resistant prostate cancer: Final results of a phase II study.
       (Clinical Genitourinary Cancer, 10/1/2013, EPub ahead of print)
   39. Meyer A, Cygan P, Tolzien K, Galvez AG, Bitran JD, Lestingi TM, Nabhan C. Role of Sorafenib
       in overcoming resistance of chemotherapy-failure castration-resistant prostate cancer (Clinical
       Genitourinary Cancer, Epub ahead of print, September 28, 2013), April 2014, Vol 12 (2), pages
       100-105
   40. Nabhan C. Aschebrook-Kilfoy B, Chiu BCH, Smith SM, Shanafelt TD, Evens AM, Kay NE. The
       impact of race, age, and sex in chronic lymphocytic leukemia: A comprehensive SEER analysis
       in the pre and post rituximab eras. Leukemia and lymphoma; EPub ahead of print 4/3/2014,
       2014 Dec; 55(12):2778-84
   41. Nabhan C, Aschebrook-Kilfoy B, Chiu BCH, Kruczek K, Smith SM, Evens AM. The impact of
       race, age, and sex in Follicular Lymphoma: A Comprehensive SEER analysis across two
       consecutive treatment eras. American Journal of Hematology, EPub ahead of print
       3/14/2014. ;89(6):633-8, June 2014
   42. Petrich A, Helenowski IB, Rozelle SA, Becicka RI, Galamaga R, and Nabhan C. Factors
       predicting survival in peripheral T-cell lymphoma in the United States: A population-Based
       analysis of 8,802 patients in the modern era. British Journal of Haematology, Epub ahead of
       print (11/7/2014). 2015 Mar; 168(5): 708-18
   43. Petrich A, Gandhi M, Jovanvoic B, Castillo J, Rajguru S, Shah KA, Whyman JD, Lansigan F,
       Hernandez-Ilizaliturri FJ, Lee LX, Barta SK, Melinamani S, Karmali R, Adeimy C, Smith S, Dalal
       N, Nabhan C, Peace D, Vose J, Evens AM, Shah NM, Fenske TS, Zelenetz A, Landsburg DJ,
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 31 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                     Page 7


       Howlett C, Mato A, Reddy N, Handler C, Cohen J, Song K, Sun H, Press O, Cassaday R, Li S,
       Sohani AR, Abramson JS. Impact of Induction Regimen and Stem Cell Transplantation on
       Outcomes in Patients with Double Hit Lymphoma: a large Multicenter Retrospective Analysis.
       (Blood. EPub ahead of Print 2014 Aug 26), Vol 124 (15), 2354-2361, October 2014
   44. Abramson JA, Feldman T, Kroll-Desrosiers AR, Muffly LS, Winer E, Flowers CR, Lansigan F,
       Nabhan C, Nastoupil L, Nath R, Goy A, Castillo JJ, Woda B, Rosen ST, Smith SM, Evens AM.
       Peripheral T-cell lymphomas (PTCL) in the modern era: Prognosis and impact of frontline
       therapy in a large US multicenter cohort. Annals of Oncology, Vol 25 (11), 2211-2217, 11/2014
   45. Nabhan C, Byrtek M, Rai A, Dawson K, Zhou X, Link BK, Friedberg JW, Zelenetz A, Maurer
       MJ, Cerhan JR, Flowers CR. Disease characteristics, treatment patterns, prognosis, outcomes,
       and lymphoma-related mortality of follicular lymphoma in the oldest old. Br Journal
       Haematology, 2015 Jul; 170 (1):85-95
   46. Carson KR, Riedell P, Lynch R, Nabhan C, Wildes TM, Liu W, Ganti A, Roop R, Sanfilippo KM,
       O’Brian K, Liu J, Bartlett NL, Cashen A, Wagner-Johnston N, Fehniger TA, Colditz GA.
       Comparative effectiveness of anthracycline-containing chemotherapy in United States Veterans
       age 80 and older with diffuse large B-cell lymphoma. J Geriatr Oncol, (Epub ahead of print, Jan
       19, 2015)
   47. Eggener SE, Cifu A, and Nabhan C. Prostate Cancer Screening. JAMA. 2015 Aug 25; 314(8):
       825-6
   48. George DJ, Nabhan C, DeVries T, Whitmore JB, Gomella LG. Survival outcomes of sipuleucel-
       T phase 3 studies: Impact of control arm crossover to salvage immunotherapy. Cancer
       Immunology research, (E-Pub ahead of print, 5/5/2015). 2015 Sep; 3(9):1063-9
   49. Evens AM, Kanakry JA, Sehn LH, Kritharis A, Feldman T, Kroll A, Gascoyne RD, Abramson JS,
       Petrich AM, Hernandez-Ilizliturri FJ, Al-Mansour Z, Adeimy C, Hemminger J, Bartlett NL, Mato
       A, Caimi PF, Advani RH, Klein AK, Nabhan C, Smith SM, Fabregas JC, Lossos IS, Press OW,
       Fenske TM, Friedberg JW, Vose JM, Blum KA. Gray zone lymphoma with features intermediate
       between classical Hodgkin lymphoma and diffuse large B-cell ymphoma: Characteristics,
       outcomes, and prognostication among a large multicenter cohort. Am J Hematol. (2015 Jun 4,
       EPub ahead of print). 2015 Sep; 90(9):778-83
   50. Landsburg DJ, Petrich AM, Abramson JS, Sohani AR, Press O, Cassaday R, Chavez JC, Song
       K, Zelenetz AD, Gandhi M, Shah N, Fenske TS, Jaso J, Medeiros LJ, Yang DT, Nabhan C.
       The impact of partner gene rearrangement on outcomes in “double-hit” non-Hodgkin lymphoma
       patients. (Cancer, Nov 13, 2015; Epub ahead of print)
   51. Guo A, Lu P, Galanina N, Nabhan C, Smith SM, Coleman M, Wang LY. Molecular basis for
       differential clinical response of ibrutinib in unmutated versus mutated CLL: Unmutated CLL has
       higher BTK-dependent cell proliferation. (Oncotarget, EPub ahead of print 12/22/2015)
   52. Islam P, Daniel C, Strelec L, Kaye AH, Brooks S, Nasta S, Porter DL, Svoboda J, Nabhan C,
       Schuster SJ, Mato AR. Ibrutinib-induced pneumonitis in patients with chronic lymphocytic
       leukemia. (Blood, Epub ahead of print 12/2015)
   53. Strati P, Uhm JH, Kaufmann T, Nabhan C, Parikh SA, Hanson CA, Chaffee KG, Achenbach SJ,
       Call TG, Shanafelt TD. Prevelence and characteristics of central nervous system involvement
       by chronic lymphocytic leukemia (Haematologica, Epub ahead of print 1/27/2016)
   54. Nabhan C, Chaffee KG, Slager, SL, Galanina N, Achenbach SJ, Schwager SM, Kay NE,
       Shanafelt TD. Analysis of racial variations in disease characteristics, treatment patterns, and
       outcomes of patients with chronic lymphocytic leukemia. (In press)
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 32 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                 Page 8


   55. Nabhan C, Zhou X, Day BM, Zelenetz AD, Friedberg JW, Cerhan JR, Link BK, Flowers CR.
       Disease characteristics, treatment, and outcome differences between men and women with
       follicular lymphoma in the United States (In Press, Leukemia and Lymphoma)
   56. Mato A, Nabhan C, Kay NE, Weiss MA, Lamanna N, Kipps TJ, Grinblatt DL, Flinn IW, Kozloff
       MF, Flowers CR, Farber CM, Kiselev P, Swern AS, Sullivan K, Flick ED, Sharman JP. Clinical
       and demographic features, and practice patterns for patients with CLL in clinical practice:
       analysis of the Connect CLL registry. (Submitted)
   57. Nabhan C, Smith SM, Cifu AC. Surveillance imaging for Hodgkin and Diffuse large B-Cell
       lymphoma patients who are in remission. (JAMA; In Press)


Review Articles/Editorials/Commentaries
   58. Nabhan C, Mehta J, Tallman MS. August 2001. The role of bone marrow transplantation in
       acute promyelocytic leukemia. Bone Marrow Transplantation, Vol 28, 219-226.
   59. Nabhan C, Krett NL, Gandhi V, Rosen ST. November 2001. Gemcitabine in Hematologic
       malignancies. Current Opinions in Oncology, Vol 13: 514-521.
   60. Tallman MS, Nabhan C, Feusner J, Rowe J. February 2002. Acute Promyelocytic Leukemia:
       Evolving Therapeutic Strategies. Blood, Vol 99: 759-167.
   61. Nabhan C, Tallman MS. March 2002. Early Phase I and II clinical trials in the development of
       Gemtuzumab Ozogamicin. Clinical Lymphoma and myeloma, Vol 2, Suppl 1, S19-S23.
   62. Tallman MS, Nabhan C. September 2002. Management of acute promyelocytic leukemia (APL).
       Current Oncology Reports, Vol 4 Issue 5, 381-389.
   63. Nabhan C, Dyer MJ, Rosen ST. February 2003. Current Status of Monoclonal antibody
       Therapy for chronic lymphocytic leukemia. Oncology, Vol 17, Number 2, 253-262.
   64. Kwaan HC. Nabhan C. December 2003. Hereditary and Acquired Defects in the fibrinolytic
       System associated with Thrombosis. Hematology and Oncology clinics of North America, Vol
       17, 103-114.
   65. Nabhan C, Kwaan HC. December 2003. Current concepts in the diagnosis and management of
       thrombotic thrombocytopenic purpura (TTP). Hematology and Oncology clinics of North
       America, Vol 17, 177-199.
   66. Nabhan C, RB Gartenhaus, Tallman MS. May 2004. The role of nucleoside analogues in
       combination therapy in chronic lymphocytic leukemia. Dawn of a new era. Leukemia Research,
       Vol 28, 5: 429-442.
   67. Nabhan C. January 2005. Chemotherapy for advanced prostate cancer. N Engl J Med, Vol 13,
       352 (2), 200-201.
   68. Nabhan C. September 2005. The emerging role of Alemtuzumab (Campath-1H) in Chronic
       Lymphocytic Leukemia: 2005 and Beyond. Clinical Lymphoma and Myeloma, Vol 6, N 2, Page
       115 –121.
   69. Nabhan C. September 2005. Should we transplant indolent lymphoma? J. Clin Oncology. Vol
       23, No 25, 6263-6264.
   70. Nabhan C, Bitran JD. October 2005. Erlotinib in advanced non-small cell lung cancer. N Engl J
       Med. 353 (16) 1739-1741.
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 33 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                     Page 9


   71. Nabhan C, Bitran JD. November 2005. Chronic Lymphocytic Leukemia: To Transplant or not to
       transplant. That is the question. J Clin Oncology. Vol 23, No 31, 8126-8127.
   72. Nabhan C, Bitran JD. June 2006. Thalidomide and dexamethasone for newly diagnosed
       multiple myeloma: is this really the standard of care. J Clin Oncol. 24 (18), 2967-2968.
   73. Nabhan C. Coutre S. Hillmen P. February 2007. Minimal Residual Disease in Chronic
       Lymphocytic Leukemia: Is it ready for primetime? British J. Haematology, Vol 136 (3), 379-392.
   74. Nabhan C. March 2007. It’s Follicular…So, Why CHOP? J Clin Oncol. 25 (7), 915-916.
   75. Nabhan C. July 2007. Chronic lymphocytic leukemia: Is it time for risk stratification? Current
       Medical Literature –Leukemia and Lymphoma, Vol (15) 33-39
   76. Nabhan C. March 2008. Front-Line treatment in Chronic Lymphocytic Leukemia: A Risk
       Stratified approach. Clinical Leukemia.
   77. Nabhan C, Shanafelt TD, Kay NE. May 2008. Controversies in the front-line management of
       chronic lymphocytic leukemia. Leukemia Research, 32(5), 679-688.
   78. Nabhan C. May 2008. Is chemotherapy the standard in asymptomatic androgen-independent
       prostate cancer? J. Clin Oncol. 26 (14), 2413-2414.
   79. Nabhan C. June 2009. Front-line therapy for chronic lymphocytic leukemia: Is there a
       standard? Asia Pacific Hematology and Oncology, Vol 1 (2).
   80. Nabhan C, Ragam A, Bitran JD, Mehta J. September 2010 (Epub ahead of print 4/2010). Bone
       marrow transplantation for mantle cell lymphoma: Is it the standard of care? Bone Marrow
       Transplantation, Vol 45 (9), 1379-1387.
   81. Nabhan C. November 2010. Sipuleucel-T in Castration-Resistant Prostate Cancer, N Engl J
       Med, Vol 363 (20), P: 1966-1967.
   82. Nabhan C, Moore C, Bitran JD. February 2011 (Epub ahead of print 12/2010). Disclosing the
       Cancer Diagnosis: the Myth and the Truth. J Clin Oncol, 29(6):e145-6.
   83. Nabhan C, Dalal N, Mehta J, Kay NE. March 2011. Biologic Therapy for Chronic Lymphocytic
       Leukemia: Frame Work for Future Therapies. Leukemia and Lymphoma, Vol 52 (3), 374-386.
   84. Nabhan C and Kay NE. March 2011. The emerging role of ofatumumab in chronic lymphocytic
       leukemia. Clinical Medicine Insights: Oncology, 24; 5:45-53.
   85. Nabhan C, Parsons B, Touloukian EZ, Stadler WM. September 2011 (Epub ahead of print
       1/2011) Novel approaches and future directions in castration-resistant prostate cancer. Annals
       of Oncology, Vol: 22(9): 1948-57
   86. Nabhan C and Tsimberidou AM. November 2011. Therapy-Related myeloid neoplasia after
       fludarabine and cyclophosphamide for chronic lymphocytic leukemia. Blood, e-Letter.
   87. Nabhan C, Smith SM, Kahl BS. May 2012 (Epub ahead of print 10/2011). Maintenance
       rituximab in follicular lymphoma: Facts and Controversies. Leukemia and Lymphoma, Vol
       53(5): 770-8.
   88. Nabhan C and Mehta J. October 2012 (Epub ahead of print 5/2012). Diffuse Large B-Cell non-
       Hodgkin Lymphoma: Is there a role for hematopoietic stem cell transplantation in first remission
       in the era of chemoimmunotherapy? Leukemia and Lymphoma, Vol: 53(10): 1859-66
   89. Nabhan C and Petrylak DP. September 2012 (Epub ahead of print 5/2012). The role of IMiDs
       alone or in combination in castration-resistant prostate cancer. Clinical Genitourinary Cancer,
       Vol: 10(3): 141-6
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 34 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                 Page 10


   90. Latta S, Cygan PH, Fried W, Nabhan C. February 2013. Diffuse large B-cell non-Hodgkin
       Lymphoma in the very elderly: Challenges and Solutions. Oncology, Vol 27 (2): 126-130, 132-
       136, 138.
   91. Petrich A, Nabhan C, Smith SM. MYC-Driven and double hit lymphomas: A review of
       pathobiology, Prognosis, and Therapeutic approaches. Cancer, July 24, 2014
   92. Nabhan C and Rosen ST. Chronic Lymphocytic Leukemia: New Therapies and Remaining
       Challenges. JAMA. 2014 Dec 3; 312 (21): 2265-76
   93. Nabhan C, Raca G, Wang LY. Predicting Prognosis in Chronic Lymphocytic Leukemia in the
       Contemporary Era. JAMA-Oncology (E-Pub 5/7/2015), 2015 Oct 1;1(7): 965-74
   94. DeSouza JA, Kelley C, Nabhan C. The Future of Cancer Care: Are we ready for Personalized
       “Value”. J Natl Compr Canc Netw. 2015 Aug;13(8):1049-51
   95. Bellei M, Nabhan C, Pesce EA, Conte L, Vose JM, Foss F, Federico M. The value and
       relevance of the T Cell Lymphoma Registries and international Collaboration: the Case of
       COMPLETE and the T-Cell Project. Curr Hematol Malig Rep. (E-Pub Ahead of Print,
       10/8/2015). Co-first author.
   96. Nabhan C, Raca G, Wang YL. Prognosis in Chronic Lymphocytic Leukemia-Reply Letter.
       JAMA-Oncol. 2015 Oct 1; 1(7): 988-9
   97. Galanina N, Petrich A, Nabhan C. The role of lenalidomide in lymphoid malignancies Leukemia
       and Lymphoma;2/22/2016
   98. Polite B, Page R, Nabhan C. Oncology Pathways: Preventing a good idea from going bad.
       JAMA-Oncol (Epub ahead of print 2/4/2016)
   99. Petrich A and Nabhan C. Use of Class I Histone Deacetylase Inhibitor Romidepsin in
       Combination Regimens. (Leukemia and Lymphoma; In Press)
  100. Nabhan C, Horner G, Howell MD. Lean care delivery model in Oncology: The Time is Now.
       (Submitted)


Peer-reviewed work in 'non-traditional' outlets:

   1. Helped in designing and writing a website: www.cllactioplan.com for patients and families to
      better understand CLL biology and prognostic factors. Site sponsored by Bayer
      Pharmaceuticals. The site is no longer active as of 2011

   2. Nabhan C and Smith SM. Primary Mediastinal B-cell Lymphoma. A web-based review on this
      disease on MedScape.com. June 2013

   3. Helped design a website discussing cost of cancer therapies for patients.
      www.costofcancerare.com

Case Reports:

   1. Mathews E. Laurie T, O’Riordan K, Nabhan C. 2008. Liver involvement with acute myeloid
      leukemia. Case Reports in Gastroenterology, 2(1):121-4.

   2. Meyer A, Mariani RA, Nabhan C. 2012. Lymphangitic pulmonary metastases in castrate
      resistant prostate adenocarcinoma. Case Reports in Medicine, Vol 2012
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 35 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                   Page 11



   3. Kruczek K and Nabhan C. 2012. Sister Mary Joseph from Prostate Cancer. J Amer
       Osteopathic Association, Vol 112 (7), page 462
Abstracts and Poster Presentations
   1.    Krett N, Ayres M, Nabhan C, Nowak B, Rosen S, Gandhi V. 2001. Gemcitabine is a potent
         cytotoxic agent in multiple myeloma. Proc Amer Assoc Canc Res, abstract # 425, AACR
   2.    Poisson BA, Takimoto C, Shapiro L, Gallot C, Nabhan C, Lieberman R, Bergan R. 2001.
         Pharmacokinetic Analysis of the putative prostate cancer chemopreventive agent, Genestein.
         Proc Amer Assoc Clin Oncol, JCO, abstract # 334, ASCO
   3.    Nabhan C, Tallman MS, Riley MB, Fitzpatrick J, Gordon LI, Gartenhaus R, Kuzel T, Seigel R,
         and Rosen ST. 2001. A phase I/II clinical trial of combining Rituximab and CAMPATH-1H in
         refractory CLL. Blood, Vol 98, No 11, page 365a, abstract # 1536, ASH
   4.    Lal A, Nabhan C, Coolsby C, Rosen ST, Peterson L. 2002. Evaluation of Peripheral Blood,
         Bone Marrow, and Flow Cytometry changes in patients with CLL receiving CAMPATH-1H and
         Rituximab. Presented as a poster at the USCAP Meeting.
   5.    Krett NL, Gandhi V, Ma C, Nabhan C, Fridberg A, Nowak B, Ayres ML, Rosen ST. 2002. 8-
         Chloro-adenosine-induced cell death involves apoptosis and necrosis. Pros Amar Asoka
         Cancer Res, Abstract # 4783, Page 965, San Francisco, AACR
   6.    Davies KM, Brett NL, Ma C, Nabhan C, Gandhi V, Rosen ST. 2002. 8-Amino-Adenosine is a
         potential therapeutic agent for multiple myeloma. Blood, Volume 100, N 11, Abstract # 3228,
         Page 817a, ASH
   7.    Parmer S, Rundhaugen LM, Boehlke L, Riley MB, Nabhan C, Raji A, Tallman MS. 2002.
         Phase II Trial of Arsenic Trioxide (ATO) in Relapsed and Refractory Acute Myeloid Leukemia,
         Secondary Leukemia, and/or Newly Diagnosed Patients ≥ 65 Years Old. Blood, Vol 100, N
         11, Abstract # 1309, Page 337a, ASH
   8.    Nabhan C, Rundhaugen LM, Riley MB, Peterson LC, Poisson B, Tallman, MS. 2002.
         Gemtuzumab Ozogamicin (MylotargTM) is Infrequently Associated With Sinusoidal Obstructive
         Syndrome: A Single Institution Experience. Blood, Vol 100, N 11, Abstract # 4609, Page
         270b, ASH.
   9.    Nabhan C, Rundhaugen LM, Riley MB, Boehlke L, Jatoli M, Tallman MS. 2003. Phase II trial
         of Gemtuzumab Ozogamicin as first line therapy in acute myeloid leukemia patients’ age 65 or
         older. Blood, Volume 102, N 11, Abstract # 2282, Page 618a, ASH.
   10.   Nabhan C, Patton D, Gordon LI, Riley MB, Kuzel T, Tallman MS, Rosen ST. 2004. Rituximab
         and Campath-1H combination therapy in patients with relapsed and/or refractory chronic
         lymphocytic leukemia (CLL). Blood, Volume 102, N 11, Abstract # 5169, Page 361b, ASH.
   11.   Milton DT, Bitran JD, Galvez A, Tolzein K, Nabhan C. 2006. Preliminary toxicity data from a
         phase II study of docetaxel/oxaliplatin for patients with advanced non-small cell lung cancer. J
         Thorac Oncol; 1(8): 911.
   12.   Nabhan C, Tolzien K, Kelby S, Lestingi T, Newman S, Bitran J. 2007. Phase II study
         investigating the efficacy and toxicity of single agent Erlotinib in androgen-independent and
         chemotherapy-naïve prostate cancer. ASCO Prostate Cancer Symposium poster
         presentation, Orlando, abstract # 149 ASCO/GU
   13.   Nabhan C. Tolzien K, Newman S, Kelby S, Galvez A, Lestingi T, Bitran JD. 2007. Erlotinib
         has activity in androgen-independent prostate cancer patients who are chemotherapy-naive:
         A phase II trial. J Clin Oncol, Vol 25 (18s), abstract # 15606, ASCO.
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 36 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                    Page 12


   14.   Nabhan C. Fried W, Galvez A, Venugopal P, Gozun P, Bitran JD. 2007. Clofarabine is active
         in patients with refractory and/or relapsed non-Hodgkin’s lymphoma (NHL): A phase I/II study.
         December 2007, Atlanta, Blood, vol 110, abstract # 4462, page 186b, ASH.
   15.   Nabhan C. Morawa E, Bitran JD, Taylor MD, Lin M, Wong EK, Hainsworth J. 2007. Patterns
         of Care in Follicular Lymphoma (FL): Are minorities being treated differently? Blood, vol 110,
         abstract # 367, page 115a, ASH.
   16.   Nabhan C, Fried W, Galvez A, Venugopal P, Bitran JD. 2008. Phase I/II trial of clofarabine in
         refractory and/or refractory non-Hodgkin’s lymphoma. Poster at the 10th International
         Conference on Malignant Lymphoma Meeting, Lugano, Switzerland
   17.   Bitran JD, Tolzien K, Lestingi TM, Nabhan C. 2008. A pilot study investigating maintenance
         GM-CSF in patients with Androgen-Independent Prostate Cancer (AIPC) who have
         maximized their response to chemotherapy: Preliminary Results, J Clin Oncol, Vol 26 (15S),
         abstract # 16111, ASCO
   18.   Lestingi TM, Tolzien K, Galvez A, Kelby S, Bitran JD, Nabhan C. 2008. A Phase II Study with
         Single Agent Erlotinib (TarcevaTM) in Chemotherapy-Naïve Androgen Independent Prostate
         Cancer (AIPC). J Clin Oncol, Vol 26 (15s), abstract # 16104, ASCO.
   19.   Nabhan C, Fried W, Galvez A, Venugopal P, Gozun P, Bitran JD. 2008. Phase I/II trial of
         Clofarabine in refractory and/or relapsed non-Hodgkin’s Lymphoma. J Clin Oncol, Vol 26
         (15s), abstract # 8564, ASCO.
   20.   Bitran JD, Tolzien K, Lestingi TM, Nabhan C. 2009. Maintenance GM-CSF in patients with
         castration-resistant prostate cancer (CRPC) who maximized their response to chemotherapy.
         J Clin Oncol, Vol 27, (abstract # e 16105), ASCO.
   21.   Nabhan C, Tolzien K, Lestingi TM, Galvez A, Bitran JD. Sorafenib overcomes chemotherapy
         resistance and refractoriness in castration resistant prostate cancer (CRPC). 2009. J Clin
         Oncol, Vol 27, (abstract # e 16155), ASCO.
   22.   Nabhan C, Bitran JD, Fried W, Galvez A, Magid L, Tolzien K, Dewey W, Venugopal P. 2009.
         Clofarabine (CLO) has single agent activity in relapsed and refractory non-Hodgkin lymphoma
         (NHL) including Rituximab (R)-refractory patients (pts). Blood, Vol 114, abstract # 921, ASH.
   23.   Nabhan C, Taylor MD, Hirata J, Lin M, Parsons B, Flowers CR. 2009. Racial Disparities in
         Disease Presentation, Treatment, and Response Rates of Follicular Lymphoma (FL) in the
         United States (US): Report from the National LymphoCare Study (NLCS). Blood, Vol 114,
         Abstract # 1381, ASH.
   24.    Nabhan C, Tolzien K, Bitran JD, Lestingi TM. 2010. GM-CSF maintenance in Castration-
         Resistant Prostate Cancer (CRPC) patients (pts) who maximized their response to
         chemotherapy improves biochemical response. Presented as a Poster/abstract at ASCO/GU.
   25.   Nabhan C, Tolzien K, Kelby SK, Lestingi TM. 2010. Lenalidomide (RevlimidTM) has single
         agent activity in chemotherapy-naïve castration-resistant prostate cancer (CRPC). J Clin
         Oncol, Presented as a poster presentation at ASGO/GU.
   26.   Nabhan C, Tolzien K, Kelby SK, Lestingi TM. 2010. Sorafenib (SOR) is active   in
         chemotherapy-failure castration-resistant prostate cancer (CRPC) overcoming chemotherapy
         refractoriness. J Clin Oncol, Presented as a poster presentation at ASCO/GU.
   27.   Higano C, Small E, Schellhammer P, Kantoff P, Redfern C, Nemunaitis J, Nabhan C, Xu Y,
         Whitmore J, Frohlich MW. 2010. Predictors of outcome and subgroup results from the
         integrated analysis of sipuleucel-T trials in metastatic castrate resistant prostate cancer. J
         Clin Oncol 28:7s, 2010 (suppl; abstr 4550), Poster Discussion, ASCO.
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 37 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                  Page 13


   28.   Evens AM, Barr PM, Nabhan C, Nukala A, Gallot L, Smith SE, Gregory SA. 2010.
         Incorporation of Rituximab and Liposomal Doxorubicin (DOXIL) into CODOX-M/IVAC for
         HIV-Negative and HIV+ Adult Patients (pts) with Untreated Burkitt’s Lymphoma (BL):
         Preliminary Results of a Multicenter Phase II Study. J Clin Oncol 28:7s, 2010 (suppl; abstr
         8033), Poster Discussion, ASCO.
   29.   Lestingi TM, Tolzien K, Kelby SK, Nabhan C. 2010. Safety and activity of Lenalidomide (LEN)
         in elderly patients (pts) with chemotherapy-naïve castration-resistant prostate cancer (CRPC).
         J Clin Oncol (suppl; abstr e15125), ASCO.
   30.   Evens AM, Nelson VM, Helenowski I, Karmali R, Larsen A, Miyata S, McKoy J, Venugopal P,
         Gordon LI, Gregory S, Nabhan C. 2010. Outcome of Elderly Hodgkin Lymphoma (HL): High
         Incidence of Bleomycin Lung Toxicity (BLT), while Patient Co-morbidities and Initial Response
         to Therapy are Associated with Survival. Poster presentation at the 8th Hodgkin Lymphoma
         Symposium, Cologne, Germany
   31.   Nabhan C, Dalal N, Tolzien K, Starr A. 2010. Bortezomib (VELCADE), Rituximab,
         Cyclophosphamide, Dexamethasone (VRCD) Combination Therapy In Front-Line Low-Grade
         Non-Hodgkin Lymphoma (LG-NHL) Is Active In Elderly Patient Population. Blood, Vol 116,
         Abstract # 1769, ASH.
   32.   Nabhan C, Byrtek M, Taylor M, Tydell J, Hirata J, Flowers CR. 2010. Disease Characteristics
         and Patterns of Care in elderly patients (80+ years) with Follicular Lymphoma (FL) in the
         United States (US); Are older patients treated differently? Report from the National
         LymphoCare Study (NLCS). Blood, Vol 116, Abstract # 4152, ASH.
   33.   Evens AM, Nabhan C, Helenowski I, Larsen A, Ramsdale EE, Karmali R, Feliciano JL,
         Parsons B, McKoy JM, Gregory SA, Smith SM. 2010. Multicenter Analysis of 150 Very Elderly
         Non-Hodgkin’s Lymphoma (NHL) Patient: Impact of co-morbidities and Response to Initial
         Therapy on Survival. Blood, Vol 116, Abstract # 3124, ASH.
   34.   Armand P, Perez w, Zhang M, Kim H, Klumpp TR, Cin PD, Waller EK, Litzow MR, Liesveld
         JL, Lazarus HM, Artz A, Gupta V, Savani BN, McCarthy PL, Cahn JY, Schouten H, Finke J,
         Ball ED, Aljurf M, Cutler C, Rowe JM, Antin JH, Isola LM, Di Bartolomeo P, Camitta B, Miller
         AM, Cairo MS, Stockler-Goldstein KE, Sierra J, Savoie ML, Halter J, Stiff PJ, Nabhan C,
         Jakubowski AA, Bunjes D, Petersdorf EW, Devine SM, Maziarz R, Bornhauser M, Lewis VA,
         Marks DI, Bredeson CN, Soiffer R, Weisdorf DJ. 2010. Cytogenetics abnormalities predict the
         outcome of allogeneic transplantation in AML: A CIBMTR Study. Blood, Vol 116, Abstract #
         680, Accepted as an oral presentation, ASH.
   35.   George DJ, Nabhan C, Gomella LG, Whitmore JB, Frohlich MW. 2011. Subsequent treatment
         with APC8015F may have prolonged survival of the control arm in phase 3 sipuleucel-T
         studies. J Clin Oncol, Poster at the ASCO/GU.
   36.   Nooka AK, Dejoubner NJ, Nabhan C, Zhou X, Taylor M, Byrtek M, Miller TP, Friedberg JW,
         Zelenetz AD, Link BK, Cerhan JR, Dillon H, Levy D, Hirata J, Flowers CR. 2011. Examination
         Of The Follicular Lymphoma International Prognostic Index (FLIPI) In The National
         LymphoCare Study (NLCS): A US Patient Cohort Treated Predominantly In Community
         Practices. J Clin Oncol, Vol 29 (15s), Abstract # 8036, ASCO
   37.   Evens AM, Ramsdale E, Helenowski I, Karmali R, Smith SM, Parsons B, Feleciano J, Hanson
         B, Smith S, McKoy J, Larsen A, Hantel A, Gregory S, Nabhan C. 2011. Multicenter analysis of
         300+ very elderly non-Hodgkin lymphoma patients (>80): Impact of co-morbidities and
         functional status on outcome. (Senior author). Poster at the International lymphoma meeting,
         Lugano, Switzerland
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 38 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                     Page 14


   38.   Gomella LG, Nabhan, C, Whitmore JB, Frohlich MW, George DJ. 2011. Post-Progression
         treatment with AP8015F may have prolonged survival of subjects in the control arm of
         sipuleucel-T phase 3 studies. J Clin Oncol, Vol 29 (15s), Abstract # 4534, Poster discussion
         at ASCO
   39.   Nabhan C, Smith SM, Helenowski I, Ramsdale E, Karmali R, Parsons BM, Feleciano J,
         Hanson B, Smith SE, McKoy J, Larsen A, Hantel A, Gregory S, Evens AM. 2011. Multicenter
         analysis of 300+ very elderly non-Hodgkin lymphoma (NHL) patients (pts) (≥80 years): Impact
         of comorbidities, response to initial therapy (Tx), and functional status on outcome. J Clin
         Oncol, Vol 29 (15s), Abstract # 8042, ASCO.
   40.   Petrylak D, Corman C, Hall S, Nabhan C, Ferrari A, Armstrong A, Dawson N, Sims R, Stewart
         F, Sheikh N. 2011. Cellular and Humoral Immune System Activation by Sipuleucel-T:
         Preliminary Data from the Open-ACT Phase 2 Trial. Poster presentation at ECCO meeting.
   41.   Dawson N, Petrylak D, Corman J, Hall S, Nabhan C, Ferrari A, Armstrong A, Sims R, Stewart
         F, Sheikh N. 2011. Activation of the immune system by Sipuleucel-T: Preliminary Data from
         the OpenAct Phase II trial. Poster presentation at the annual meeting of the society of
         immunotherapy of Cancer.
   42.   Nabhan C, Villines D, Valdez TV, Ghielmini M, Hsu Schmitz S, Smith SM. 2011. Meta
         Analysis of grade3 and/or 4 toxicities in Low-Grade Non-Hodgkin Lymphoma patients
         Receiving Maintenance Rituximab (MR) Therapy: Impact of Schedule on Toxicity. Blood, Vol
         118, Abstract#2704, ASH.
   43.   Evens AM, Helenowski I, Nabhan C, Ramsdale E, McKoy JM, Larsen A, Miyata S, Parsons B,
         Karmali R, Hanson BE, Gordon LI, Smith SE, Gregory SE, Smith SM. 2011. Multicenter
         Analysis of Elderly Hodgkin Lymphoma (eHL): Outcomes and Prognostic Factors in the
         Modern Era. Blood, Vol 118, Abstract # 2625, ASH.
   44.   Nabhan C, Smith SM, Helenowski I, Ramsdale E, Karmali R, Parsons B, Feleciano J, Hanson
         BE, Smith SE, McKoy JM, Gregory SE, Evens AM. 2011. Multicenter Analysis of Very Elderly
         Indolent and Aggressive Non-Hodgkin Lymphoma (NHL): Impact of Functional Status on
         Outcome. Blood, Vol 118, Abstract # 3668, ASH.
   45.   Evens AM, Carson K, Nabhan C, Jovanovic B, Barr PM, Caimi P, Gallot L, Helenowski I,
         Gregory SA, Gordon LI. 2011. Integration of High-Dose Rituximab and Liposomal Doxorubicin
         (DOXIL) into CODOX-M/IVAC for HIV-Negative and HIV+ Adults with Untreated Burkitt’s
         Lymphoma (BL): Results of a Prospective Multicenter Phase II Study. Blood, Vol 118,
         Abstract # 2669, ASH.
   46.   Nabhan C, Villines D, Valdez TV, Tolzien K, Lestingi TM, Bitran JD, Christner SM, Egorin MJ,
         Beumer JH. 2012. Phase I study investigating the safety and feasibility of combining imatinib
         mesylate (Gleevec) (IM) with sorafenib (S) in patients (pts) with refractory castration-resistant
         prostate cancer (CRPC). J Clin Oncol, Vol 30 (5s), Abstract # 146, ASCO/GU.
   47.   Nabhan C, Patel A, Villines D, Tolzien T, Kelby S, Lestingi TM. 2012. Lenalidomide (LEN)
         produces biochemical responses and clinical benefit (CB) as a single agent in chemotherapy-
         naïve castration resistant prostate cancer (CRPC). J Clin Oncol, Vol 30 (5s), Abstract # 128,
         ASCO/GU.
   48.   Nabhan C, Kruczek K, Tolzien K, Galvez A, Lestingi TM. 2012. A phase II study evaluating
         the toxicity and efficacy of single Agent Temsorilmus (TEM) in chemotherapy-Naïve
         castration-Resistant Prostate cancer (CRPC): first report of suggested activity. J Clin Oncol,
         Vol 30 (5s), Abstract # 165, ASCO/GU.
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 39 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                   Page 15


   49.   Nabhan C, Cygan P, Meyer A, Tolzien K, Galvez A, Lestingi TM, Bitran JD. 2012. Sorafenib
         (SOR) has activity in chemotherapy-failure castration-resistant prostate cancer (CRPC)
         patients (pts) overcoming chemotherapy resistance. J Clin Oncol, Vol 30 (5s), Abstract # 127,
         ASCO/GU.
   50.   Nabhan C, Gomella LG, DeVries T, Whitmore JB, Frohlich MW, George DJ. 2012. An
         analysis to quantify the overall survival (OS) benefit of sipuleucel-T accounting for the
         crossover in the control arm of the IMPACT study. J Clin Oncol, Vol 30 (5s), Abstract # 144,
         ASCO/GU.
   51.   George DJ, Gomella LG, Nabhan C, Whitmore JB, Frohlich MW. 2012. Post progression
         treatment with APC8015F may have prolonged survival in subjects in the control arm of
         sipuleucel-T phase 3 studies. Poster presentation at SUO.
   52.   Gomella LG, Nabhan C, DeVries T, Whitmore J, Frohlich M, George D. 2012. Estimating the
         overall survival benefit of sipuleucel-T in the IMPACT trial accounting for crossover treatment
         in control subjects with autologous immunotherapy generated from cyropreserved cells. Oral
         podium presentation at AUA.
   53.   Nabhan C, Aschebrook B, Chiu B, Kruczek K, Clemenzi-Allen A, Patel A, Smith SM, Evens
         AM. 2012. The Impact of Race, Age, and Sex in Follicular Lymphoma (FL): A Comprehensive
         SEER Analysis Examining Overall Survival (OS) in the Pre- and Post-Rituximab Eras. J Clin
         Oncol, Vol 30 (15s), Abstract # 8072, ASCO.
   54.   Gomella LG, Nabhan C, DeVries T, Whitemore JB, Frohlich MW, George DJ. 2012. Impact of
         salvage therapy with APC8015F on the overall survival (OS) benefit achieved with sipuleucel-
         T in three Phase 3 studies of metastatic castrate-resistant prostate cancer (mCRPC).
         Publication in the abstract book of ASCO
   55.   Evens AM, Carson K, Nabhan C, Nahida I, Jovanovic B, Barr PM, Caimi P, Helenowski I,
         Gregory SA, Gordon LI. 2012. Incorporation of Rituximab and liposomal doxorubicin into
         CODOX-M/IVAC for untreated Burkitt Lymphoma (BL): Final Results of a Prospective
         Multicenter Phase II Study. J Clin Oncol, Vol 30 (15s), Abstract # 8080, ASCO.
   56.   George DJ, Gomella LG, DeVries T, Whitmore JB, Frohlich MW, Nabhan C. 2012. Impact of
         salvage therapy with APC8015F on the overall survival (OS) benefit achieved with sipuleucel-
         T in three Phase 3 studies of metastatic castrate-resistant prostate cancer (mCRPC). Poster
         presentation at ESMO.
   57.   Corman J, Dawson N, Hall S, Nabhan C, Ferrari A, Armostrong A, Murdock M, Sims R,
         Stewart F, Sheikh N, Petrylak D. 2012. OpenACT: Phase II open label study of sipuleucel-T
         in metastatic castrate-resistant prostate cancer (m CRPC). Poster at ESMO.
   58.   Nabhan C, Aschebrook-Kilfoy B, Evens AM, Chiu BCH, Smith SM, Shanafelt TD, and Kay
         NE. 2012. The Impact of Race, Age, and Sex in Chronic Lymphocytic Leukemia (CLL): A
         Comprehensive SEER Analysis in the Pre and Post Rituximab (R) Eras. Blood, Vol 120,
         Abstract # 2877, ASH.
   59.   Nabhan C, Aschebrook-Kilfoy B, Chiu BCH, Kruczek K, Clemenzi-Allen A, Patel A, Smith SM,
         Evens AM. 2012. The Impact of Race, Age, and Sex in Follicular Lymphoma (FL): A
         Comprehensive SEER Analysis Examining Overall Survival (OS) in the Pre- and Post-
         Rituximab Eras. Blood, Vol 120, Abstract # 1576, ASH.
   60.   Nabhan C, Villines D, Chiu BCH, Ollberding NJ, Valdez TV, Ghielmini M, Schmitz SFH, Smith
         SM. 2012. Meta-Analysis of Grade 3 and/or 4 Toxicities in Follicular and Mantle Cell Non-
         Hodgkin Lymphoma Patients Receiving Maintenance Rituximab: impact of Schedule,
         Histology, and Induction Regimen on Toxicity. Blood, Vol 120, Abstract # 3654, ASH.
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 40 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                 Page 16


   61.   Nabhan C, Byrtek M, Latta S, Dawson K, Taylor MD, Zhou X, Link B, Friedberg J, Cerhan J,
         Flowers CR. 2012. Age Disparities in Disease Characteristics, Patterns of Care, and
         Outcomes of Follicular Lymphoma (FL) in the United States (US): Report from the National
         LymphoCare Study (NLCS). Blood, Vol 120, Abstract # 3708, ASH.
   62.   Petrich AM, Helenowski I, Galamaga R, and Nabhan C. 2012. Trends in Incidence and
         Outcome in T-cell Lymphoma since 1992: A SEER Database Analysis. Blood, Vol 120,
         Abstract # 4264, ASH.
   63.   Evens AM, Nahida I, Carson K, Browning V, Nabhan C, Jovanovic B, Barr PM, Caimi P,
         Gregory SA, Kolesar JM, Gordon LI. 2012. A Multicenter Phase 2 Study Incorporating High-
         Dose Rituximab into the CODOX-M/IVAC Regimen for Untreated Burkitt’s Lymphoma:
         Examination of Correlative Analyses of Serum and CSF Rituximab Levels. Blood, Vol 120,
         Abstract # 1640, ASH.
   64.   Evens AM, Feldman T, MD, Kroll A, Muffly L, Winer E, Flowers CR, Lansigan F, Nabhan C,
         Mato A, Nastoupil L, Li X, Waksmundzki K, Kim A, Castillo J, Nath R, Goy A, Smith SM,
         Rosen ST, Abramson JS. 2012. Survival in Newly Diagnosed Mature T-Cell Lymphoma (TCL)
         in the Modern Era: Investigation of Prognostic Factors with Critical Examination of Therapy in
         a Multicenter US Cohort. Blood, Vol 120, Abstract # 2728, ASH
   65.   Carson KR, Lynch R, Reidell P, Roop R, Ganti A, Liu W, Nabhan C, Wildes T, Sanfilippo K,
         Colditz G. 2012. Treatment of diffuse large B-cell lymphoma (DLBCL) patients (pts) age 80
         and older: Analysis of the Veterans Health Administration (VHA) national database. Blood,
         Vol 120, Abstract # 968, Oral Presentation at ASH-2012.
   66.   Nabhan C, Sartor O, Cooperberg M, Vacirca J, Concepcion R, Berry W, Dhawan M, Tutrone
         R, Sandler A, McCoy C, Whitmore J, Tyler R, Higano C. Immune Responses in Metastatic
         Castration-Resistant Prostate Cancer (mCRPC) patients (pts) ≥80 years old: Data from
         PROCEED. Poster at the ASCO/GU symposium, Orlando, FL, February 2013
   67.   Evens AM, Carson KR, Kolesar JM, Nabhan C, Barr P, Caimi PF, Gregory SA, Gordon LI.
         Results of a phase 2 multicenter study of the addition of rituximab (R) to CODOX-M/IVAC for
         untreated Burkitt’s lymphoma (BL): Impact of plasma and cerebrospinal fluid (CSF) R levels.
         Poster presentation at the 13th annual ICML meeting, Lugano, Switzerland, 2013
   68.   Nabhan C, Bytrek M, Latta S, Dawson K, Zhou X, Link BK, Friedberg J, Cerhan JR, Dillon H,
         Flowers CR. Disease characteristics, patterns of care, and outcomes of follicular lymphoma
         (FL) in the oldest old: Report from the US National Lymphocare Study (NLCS). Accepted as
         an oral podium presentation at the 13th annual ICML meeting, Lugano, Switzerland, 2013
   69.   Ahaghotu C, Horton S, Higano CS, Sartor O, Cooperberg MR, Concepcion R, Dhawan M,
         Goel S, Hall SJ, Armstrong AJ, Penson D, Sandler A, McCoy C, Whitmore J, Tyler, Sheikh N,
         Nabhan C. Disparities in disease characteristics between Caucasians and African Americans
         receiving sipuleucel-T: Data from PROCEED. Accepted as an oral podium presentation at
         the Western AUA meeting, USA.
   70.   Nabhan C, Byrtek M, Dawson K, Zhou X, Link BK, Friedberg JW, Zelenetz AD, Cerhan JR,
         Flowers CR. A proposed prognostic model in the oldest old (>80 years) follicular lymphoma
         patients. Accepted as a poster at the ASH-2013 meeting, New Orleans, LA
   71.   Gandhi MD, Petrich AM, Cassady R, Press O, Shah KA, Whyman JD, Lansigan F, Zelenetz A,
         Shah N, Fenske T, Hernandez-Ilizaliturri FG, Lee LX, Barta SK, Karmali R, Camille A, Smith S,
         Vose J, Dalal N, Nabhan C, Peace D, Jovanovic B, Sohani A, Evens AM, Castillo J, Abramson
         JS. Impact of induction regimen and consolidation stem cell transplantation in patients with
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 41 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                Page 17


         double hit lymphoma (DHL): A large multicenter retrospective analysis. Accepted as an oral
         presentation at the ASH-2013 meeting, new Orleans, LA
   72.   Jasielec J, Peace D, Edwards S, Tolzien K, Smith SM, and Nabhan C. Single Agent
         Ofatumumab in Patients with Relapsed and/or Refractory Diffuse Large B-cell Lymphoma
         (DLBCL): Results of a Phase II Open Label Study. Published in the ASH-2013 meeting, New
         Orleans, LA.
   73.   Nastoupil LJ, Rai A, Lipscomb J, Nabhan C, Flowers CR. Disease characteristics, patterns of
         care, and outcomes of Follicular Lymphoma in the Oldest Old. Accepted as a poster at the
         ASH-2013 meeting, New Orleans, LA
   74.   Karmali R, De Vita M, Petrich AM, Nabhan C, Kruczek K, Raizer J, McFarland D, Peace D,
         Lukas R, Basu S, Gregory SA, Venugopal P. Multicenter analysis of primary CNS lymphoma:
         Patients characteristics, Treatment Patterns, and Survival. Accepted as a poster at the ASH-
         2013 meeting, New Orleans, LA.
   75.   Petrich AM, Nabhan C, Galamaga R, and Helenowski I. Factors affecting survival in
         peripheral T-Cell Lymphoma (PTCL): A population-based analysis of 8,802 patients.
         Accepted as an oral presentation at the T-Cell Consortium meeting, San Francisco, January
         2014. Winning the young investigator award.
   76.   Abramson JS, Feldman T, Kroll A, Muffly LS, Winer E, Flowers C, Lansigan F, Nabhan C,
         Nastoupil L, Nath R, Castillo JJ, Goy A, Woda B, Smith SM, Rosen ST, Evens AM. Survival of
         peripheral T-cell lymphoma (PTCL): Impact of therapy and comorbidities in a multicenter
         cohort. Submitted to ASCO-2014, Chicago, IL
   77.   Nabhan C, Byrtek M, Dawson KL, Zhou X, Ziemiecki R, Zelenetz AD, Friedberg JW, Cerhan
         JW, Flowers CR. Differences in disease characteristics, treatment patterns, and outcomes
         between men and women with follicular lymphoma: prospective evaluation of 2650 US
         patients. Accepted as a poster at the ASCO-2014, Chicago, IL
   78.   Jasielec J, Kimball AS, Cohen KS, Kline JP, Rapoport A, Nabhan C, Petrich A, Thomas SP,
         Doyle LA, Stadler WM, Karrison T, Smith SM. Temsirolimus and lenalidomide has substantial
         activity in relapsed/refractory Hodgkin Lymphoma including patients with prior exposure to
         brentuximab vedotin. Accepted as a poster at the ASCO-2014, Chicago, IL
   79.   Nabhan C, Galanina N, Kay NE, Mato A, Grinblatt DL, Kipps TJ, Lamanna N, Swern AS,
         Street T, Weiss MA, Flowers CR. Patterns of care of aged chronic lymphocytic leukemia
         (CLL) patients in the United States: Systematic Analysis of 457 patients in the Connect
         Registry. Accepted as a poster at the ASH-2014, San Francisco
   80.   Gandhi MD, Smith SM, Nabhan C, Evens AM, Ma S, Winter JN, Gordon LI, Petrich AM.
         Brentuximab vedotin (BV) plus Rituximab as front-line therapy for patients with CD30+ and/or
         Epstein Barr Virus (EBV)+ lymphoma: Phase I results of an ongoing phase I-II Study.
         Accepted as a poster at the ASH-2014, San Francisco.
   81.   Nabhan C, Foss F, Horwitz S, Carson K, Rosen ST, Federico M, Gisselbrecht C, His E,
         Pinter-Brown L, Pro B, Smith SM. Patterns of Radiotherapy (RT) for T-Cell non-Hodgkin
         Lymphoma (TCL) in the United States. Submitted to ASH-2014, San Francisco
   82.   Nabhan C, Rabe KG, Slager SL, Achenbach SJ, Schwager SM, Kay NE, Shanafelt TD.
         Racial Variations in Disease characteristics, presentations, treatments, and outcomes in
         chronic lymphocytic Leukemia (CLL). Accepted as a poster at the ASH-2014, San Francisco
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 42 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                   Page 18


   83.   Matasar MJ, Swartz CL, Elkin EB, and Nabhan C. Extended use of Rituximab in Older Adults
         with Non-Hodgkin Lymphoma. Accepted as a poster at the ASH-2014, San Francisco, CA
   84.   Sharman JP, Mato A, Kay NE, Kipps TJ, Lamanna N, Weiss MA, Nabhan C, Flinn IW,
         Grinblatt DL, Kozloff MF, Michael CF, Sullivan K, Street T, Swern AS, Flowers CF.
         Demographics by age group (AG) and line of therapy (LOT) in chronic lymphocytic leukemia
         (CLL) patients treated in US practices from the Connect CLL Registry. Accepted as a poster
         at the ASH-2014, San Francisco, CA
   85.   Mato A, Flowers CR, Farber CM, Weiss MA, Kipps TJ, Kozloff MF, Nabhan C, Flinn IW,
         Grinblatt DL, Lamanna N, Sullivan K, Kiselev P, Flick E, Foon K, Swern AS, Sharman JP.
         Prognostic Testing Patterns in CLL Patients Treated in US Practices from the Connect® CLL
         Registry. Accepted as a poster discussion at the ASCO-2015 meeting, Chicago, IL
   86.   Landsburg DJ, Petrich AM, Abramson JS, Sohani A, Press OW, Cassaday RD, Chavez JC,
         Song KW, Zelenetz AD, Gandhi M, Shah MM, Fenske T, Jasso J, Medeiros JL, Yang DT, and
         Nabhan C. Analysis of “double hit lymphoma” cases by genetic type. Accepted as a poster
         presentation at the ASCO-2015 meeting, Chicago, IL
   87.   Evens, AM, DO, Hamlin PA, MD, Nabhan C, Advani RH, MD, Fanale, Petrich A, Smith SM,
         Bociek G, Winter J, Gordon LI. Sequential Brentuximab Vedotin (BV) With Adriamycin,
         Vinblastine, and Dacarbazine (AVD) for Older Patients with Untreated Hodgkin Lymphoma:
         Initial Findings from a Phase II Multicenter Study. Accepted as an oral presentation at the 13th
         International ICML meeting, Lugano, Switzerland, June 2015
   88.   Nabhan C, Foss F, Horwitz S, Pinter-Brown L, Carson K, Rosen ST, Federico M, Gisselbrecht
         C, His E, Pro B, Smith SM. Characteristics and Patterns of Care of Patients ≥70 years with T-
         cell non-Hodgkin Lymphoma in the United States. Accepted as a poster at the 13th
         International ICML meeting, Lugano, Switzerland, June 2015
   89.   Landsburg DJ, Petrich AM, Abramson JS, Sohani AR, Press O, Cassaday R, Chavez JC,
         Song K, Zelenetz AD, Gandhi M, Fenske TS, Medeiros J, Yang DT, Nabhan C.
         Comprehensive analysis of “double hit” lymphoma by genetic type. Accepted as a poster at
         the 13th international ICML meeting, Lugano, Switzerland, 2015
   90.   Evens AM, Kanakry JA, Sehn LH, Kritharis A, Feldman T, Kroll A, Gascoyne RD, Petrich AM,
         Abramson JS, Hernandez-Ilizaliturri FJ, Al-Mansour Z, Adeimy C, Hemminger J, Bartlett NL,
         Mato A, Caimi PF, Advani RH, Klein AK, Nabhan C, Smith SM, Lossos IS, Press OW, Fenske
         T, Friedberg JW, Vose JM, Blum KA. Gray zone lymphoma with features intermediate
         between classical Hodgkin lymphoma and diffuse large B-cell lymphoma: Characteristics,
         outcomes, and prognostication among a large multicenter cohort. Accepted as an oral
         presentation at the 13th international ICML meeting, Lugano, Switzerland, 2015
   91.   Flowers CR, Nabhan C, Kay NE, Mato A, Lamanna N, Grinblatt DL, Kipps TJ, Kozloff MF,
         Sullivan K, Flick E, Kiselev P, Bhushan S, Swern AS, Sharman JP. Reasons for initiation of
         therapy and early outcomes for patients with RAI 0/1 Chronic Lymphocytic Leukemia (CLL):
         An analysis of the Connect CLL Cohort Study. Accepted as a poster presentation at the ASH-
         2015, Orlando, FL
   92.   Mato AM, Nabhan C, Flowers CR, Kay NE, Kipps TJ, Grinblatt DL, Lamanna N, Kozloff MF,
         Sullivan K, Flick E, Kiselev P, Bhushan S, Bhushan S, Swern AS, Sharman JP. Treatment
         Selection and Practice Patterns for the Management of High-Risk Chronic Lymphocytic
         Leukemia (CLL) in the US: An Analysis of the Impact of Risk Stratification on Treatment
         Selection from the Connect CLL® Registry. Accepted as an Oral Presentation at the ASH-
         2015, Orlando, FL
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 43 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                  Page 19


   93.   Guo A, Lu P, Galanina N, Nabhan C, Smith SM, Coleman M, Wang LY. Higher BTK-
         Dependent cell proliferation in unmutated chronic lymphocytic leukemia confers increased
         sensitivity to ibrutinib. Submitted to ASH-2015, Orlando, FL
   94.   Malecek MK, Rozell S, Chu B, Trifilio S, Galanina N, Nabhan C, Petrich AM. Risk factors for
         CNS relapse among patients with DLBCL treated with EPOCH-R. Accepted as a poster
         presentation at the ASH-2015, Orlando, FL
   95.   Matasar MJ, Atoria CL, Elkin EB, Nabhan C. Patterns of use and toxicity of maintenance
         rituximab in older adults with non-Hodgkin lymphoma in the US. Accepted as an Oral
         Presentation at the ASH-2015, Orlando, FL
   96.   Szmulewitz RZ, Nabhan C, O’Donnell PH, Kach J, Karrison T, Martinez E, Stadler WM. A
         phase I/II trial of enzalutamide plus the glucocorticoid receptor antagonist mifepristome for
         patients with metastatic castration resistant prostate cancer (mCRPC). Submitted to ASCO-
         2016, Chicago, IL
   97.   Epperla N, Hamadani M, Ahn KW, Oak E, Cashen AF, Kanate AS, Calzada O, Farmer ZL,
         Tallarico M, Nabhan C, Costa LJ, Kenkre VP, Ghosh N, Cohen JB, Hari P, Fenske TS.
         Predictive factors and outcomes for ibrutinib therapy in relapsed/refractory mantle cell
         lymphoma. Submitted to ASCO-2016, Chicago, IL.


Work submitted to peer-reviewed journals or under preparation:

   1. Corman JM, Hall S, Nabhan C, Ferrari A, Armstrong A, Dawson N, Murdock M, Sims R, Stewart
      F, Sheikh N, Petrylak D. Full characterization and clinical correlates of cellular and humoral
      immune responses against prostate antigens generated by sipuleucel-T among metastatic
      castration-resistant prostate cancer patients in an open-label clinical trial (Submitted)

Books:
As author:
   1. Nabhan C, and Bergan R. Chemoprevention in Prostate Cancer. In Cancer Chemoprevention.
       Bergan R, Editor, pp 103-136, 2001

As editor:
   1. Nabhan C. Risk Stratification in the management of chronic lymphocytic leukemia (CLL). Nova
       Science Publishers, Inc, 2007, (Nabhan C, Editor)


Book chapters:

    1. Tallman MS, Nabhan C. Acute Myeloid Leukemia and Myelodysplasia. In American Society of
       Hematology Self Assessment Program (ASH-SAP), 1st edition, December 2002

    2. Nabhan C, Tallman MS. Arsenicals: Past, present, and future. In Biologic Therapies of
       leukemias, Kalacyio M, Editor, pp 189-205, May 2003

    3. Tallman MS, Nabhan C, Camitta B. Acute Myeloid Leukemia. In American Society of
       Hematology Self Assessment Program (ASH-SAP), 2nd edition, released December 2004
           Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 44 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                 Page 20


Media and Press experience/exposure:

6/05                 Radio/Webcast guest for www.healthtalk.com
                     (Now: http://www.everydayhealth.com/leukemia/webcasts/cll-updates-more-
                     treatments-more-choices-transcript-1.aspx): Topic: CLL more options and more
                     treatments. Hosted by: Andrew Schorr.

2007                 Helped in designing and writing a website: www.cllactioplan.com for patients and
                     families to better understand CLL biology and prognostic factors. Site sponsored
                     by Bayer Pharmaceuticals.

2/10/08              Interviewed by Oncology Times to discuss findings of research study on racial
                     disparities in follicular lymphoma:
                     http://journals.lww.com/oncologytimes/Fulltext/2008/02101/LymphoCare Study
                     Provides Insights into Management.15.aspx

3/9/10               Interview with WBIG-AM 1280 AM Home of Fox Sports Radio (The Big Wake Up
                     Call Show): Discussion on CLL and new treatment and the applicability of
                     chemoimmunotherapy in CLL.

6/4/10               Interview with local ABC-7 News medical team about Provenge immunotherapy
                     applications in prostate cancer and its recent FDA approval.

6/5/10               Investor-related meeting about Provenge and its use in prostate cancer and its
                     role in patients with advanced disease. Meeting conducted during ASCO 2010
                     event in Chicago, IL.

6/13/10              Interview with Harv Roman on WCEV-AM (1450), local Chicago radio station
                     discussing balancing careers with cancer therapy in patients with cancer.

6/17/10              Interview with Tom Levine WFIW-AM 1390 (Southern IL station), 25 minutes live
                     talk show about survivorship and challenges for cancer patients as they face
                     career changes.

10/12/10             Interview with Ron Winslow, reporter for the Wall Street Journal regarding new
                     treatment options for castration-resistant prostate
                     cancer.http://online.wsj.com/article/SB1000142405274870379410457554643310
                     9035578.html?KEYWORDS=prostate+drug

11/25/10             Report written for Oncology Times about Provenge and its approval as an
                     immunotherapy for the treatment of castration-resistant and metastatic prostate
                     cancer.
                     http://journals.lww.com/oncologytimes/blog/voices/pages/post.aspx?PostID=13

2/1/12               Media interview with Anette Breindl; Bio-world Today regarding survival benefits
                     of Sipuleucel-T in Castrate-Resistant Prostate Cancer.

2/3/12               Video Interview with Andrew Schor from patientpower.info; (website that reviews
                     health care and advances in oncology regarding metastatic prostate cancer and
                     survival benefits of Sipuleucel-T with immunotherapy for advanced prostate
                     cancer). www.patientpower.info/video/living-longer
           Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 45 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                      Page 21



12/23/15               Interview with www.hfma.org to discuss HER/EMR implementation as well as
                       My-Chart and the patient portal experience at the University of Chicago. Article
                       at: https://www.hfma.org/Content.aspx?id=46000

Clinical trials that are closed and unpublished
    1. Phase II clinical trial evaluating efficacy and toxicity of single agent ofatumumab in patients with
        relapsed and/or refractory diffuse large B-cell non-Hodgkin lymphoma who are transplant-
        ineligible. (Nabhan C: PI)


Clinical trials approved (funding secured): Investigator-initiated:
   1. Multicenter phase II study of bendamustine, Obinutuzumab, and dexamethasone (BOD) in
      elderly patients > 70 years of age with diffuse large B-cell non-Hodgkin lymphoma (DLBCL) who
      are deemed suboptimal for R-CHOP. (Nabhan C: PI), Multicenter.
   2. A prospective multi-center phase I/II study incorporating lenalidomide into dose-adjusted
      EPOCH plus rituximab in patients with double hit lymphomas (Nabhan C: PI), Multicenter
   3. A randomized Phase II Prospective study comparing docetaxel plus enzalutamide versus
      docetaxel alone in castration-resistant prostate cancer patients progressing on enzalutamide.
      (Nabhan C: PI), Multicenter through the PCCTC.

FUNDING (IIT=investigator-initiated trial)

Approved

IIT: Multicenter phase II study of Bendamustine, Obinutuzumab, and Dexamethasone (BOD) in elderly
patients > 70 years of age with diffuse large B-cell non-Hodgkin lymphoma (DLBCL) who are deemed
suboptimal for R-CHOP. Funds from Genentech, Inc ($ 400,000). My role: Study lead and Principle
Investigator

IIT: A prospective multi-center phase I/II study incorporating lenalidomide into dose-adjusted EPOCH
plus rituximab in patients with double hit lymphomas. Funds from Celgene ($ 853,000). My role: Study
lead and Principle Investigator.

IIT: A prospective randomized phase II study comparing docetaxel alone versus docetaxel plus
enzalutamide in castration-resistant prostate cancer (CRPC) patients progressing on enzalutamide.
Funds from Medivation/Astellas ($1,800,000.00). My role: Study lead and Principle Investigator

Sequential brentuximab vedotin and AVD chemotherapy in newly diagnosed patients >60 years of age with
Hodgkin Lymphoma. My role: Co-Investigator and local PI

PET-Adapted therapy in newly diagnosed bulky Hodgkin Lymphoma patients younger than 60 years of age.
My role: Co-Investigator and local PI

Alliance 13-0119: Prospective randomized study comparing consolidative autologous stem cell
transplantation to systemic chemotherapy in newly diagnosed primary DLBCL CNS Lymphoma patients.
My role: Co-investigator and local PI

IPI-145 in relapsed/refractory indolent non-Hodgkin lymphoma. My role: Co-investigator and local PI
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 46 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                   Page 22



Brentuximab plus rituximab as a front-line therapy in newly diagnosed PTLD and CD30+ DLBCL patients.
My role: Co-investigator and local PI

Phase III study comparing TAK700 versus bicalatumide plus ADT in newly diagnosed castrate sensitive
metastatic prostate cancer patients. My role: Co-investigator and local PI.


Past:
2004 - 2007          The National LymphoCare Study: An observational study of treatment, outcomes
                     and prognosis in patients with follicular non-Hodgkin's lymphoma.
                     Sponsor: Genentech: $ 57,650.00. My role: Sub-investigator

2004 - 2009          A Phase I/II Open-Label Study of Clofarabine in Patients with Relapsed or
                     Refractory Diffuse Large Cell B-Cell NHL.
                     Sponsor: Genzyme: $ 170,500.00. My role: Principle Investigator; IST

2004 - 2008          A Phase II Study Evaluating the Safety and Efficacy of Oxaliplatin and Taxotere
                     in the First Therapy of Stage IV or IIIB Non-Small Cell Lung Cancer.
                     Sponsor: Sanofi: $ 86,870.00. My role: Principle Investigator; IST

2004 - 2009          A phase II Pilot Study Investigating the Efficacy and Activity of Single agent GM-
                     CSF (Leukine TM) Maintenance approach in Androgen-Independent Prostate
                     Cancer Patients Responding to Taxotere Chemotherapy.
                     Sponsor: Berlex: $ 127,224.00. My role: Principle Investigator; IST

2005 - 2008          A phase II Study Investigating the Efficacy and Activity of Single Agent Erlotinib
                     in Chemotherapy-Naïve Androgen-Independent Prostate Cancer
                     Sponsor: Genentech: $ 74,875.00. My role: Principle investigator; IST

2006 - 2011          A Phase I/II study to evaluate the ability of Sorafenib in overcoming resistance to
                     systemic chemotherapy in androgen-independent prostate cancer (AIPC)
                     Sponsor: Bayer: $ 114,577.32. My role: Principle investigator; IST

2006 - 2010          Phase II study investigating the efficacy of VELCADE, Rituximab,
                     Cyclophosphamide, and Decadron (VRCD regimen) in front-line therapy of
                     patients with low-grade Lymphoma
                     Sponsor: Millennium: $ 85,500.00. My role: investigator-initiated; IST

2006 - 2011          Phase I Study Investigating the Safety and Feasibility of Combining Imatinib
                     Mesylate Gleevec with Sorafenib in Patients with Androgen-Independent
                     Chemotherapy-Failure Prostate Cancer
                     Sponsor: Novartis: $ 121,500.00, My role: Principle Investigator; IST

2008 - 2012          A Phase II Study Evaluating the Toxicity and Efficacy of Single Agent
                     Lenalidomide (Revlimid) in Chemotherapy-Naïve Androgen-Independent
                     Prostate Cancer Patients
                     Sponsor: Celgene: $ 155,300.00. My role: Principle investigator; IST
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 47 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                 Page 23


2009 - 2012          A Phase II Study Evaluating the Toxicity and Efficacy of Single Agent
                     Temsorilmus (Torisel) in Chemotherapy-Naïve Castration Resistant Prostate
                     Cancer Patients
                     Sponsor: Pfizer: $ 115,400.00. My role: Principle investigator; IST

2010 - 2013          Phase II Study of Ofatumumab in refractory and/or relapsed DLBCL.
                     Sponsor: GSK: $ 396,375. My role: Principle investigator; IST


SELECTED INVITED SPEAKING

Podium Presentations at Regional, National, and International Meetings
11/01         Eastern Cooperative Oncology Group (ECOG) Young Investigator Meeting: Phase I
              study combining rituximab and Campath-1H in refractory and/or relapsed CLL, Miami
              FL.
12/07         American Society of Hematology Meeting: Patterns of care in Follicular Lymphoma:
              Are minorities being treated differently? Report from the National LymphoCare Study
              (NLCS), San Francisco, CA
12/09         American Society of Hematology Meeting: Clofarabine has single agent activity in
              relapsed and refractory non-Hodgkin lymphoma including Rituximab-refractory patients.
              New Orleans, LA
6/13          International Congress on malignant Lymphoma (ICML), 13th annual meeting:
              Disease characteristics, treatment patterns, and outcomes of follicular lymphoma in the
              oldest old: report from the US National Lymphocare Study, Lugano, Switzerland
5/14          International Ultmann Chicago Lymphoma Symposium (ICLS). Diffuse Large B Cell
              lymphoma in the elderly. Chicago, IL
7/14          American Association of Clinical Chemistry. Workshop titled: Towards better patient
              care and satisfaction. Chicago, IL
8/14          American Society for Clinical Laboratory Science Annual Meeting. Dissecting
              Follicular Lymphoma: High versus low risk. Chicago, IL
6/15          European Hematology Association (EHA): 20th Annual Meeting. Double Hit
              Lymphoma: Time for Targeted Therapy. Vienna, Austria

Grand Rounds Presentations/ and Regional/National Seminars

11/01         Special Seminar: Rationale for designing therapeutics in select hematologic. University
              of Michigan, Ann Arbor
5/02          Potential new nucleoside analogues in the treatment of multiple myeloma. Hematology
              and Oncology Grand Rounds at Robert H. Lurie Comprehensive Cancer Center,
              Chicago
8/03          Chronic Lymphocytic Leukemia; A New Paradigm in the 21st Century. Department of
              Internal Medicine Grand Rounds. Advocate Lutheran General Hospital, Park Ridge,
              Illinois, August, 2003
9/04          Prostate Cancer. Past, Present, and Future. Department of Internal Medicine Grand
              Rounds, Advocate Lutheran General Hospital, Park Ridge, IL
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 48 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                Page 24


10/06         Current and Future treatment of CLL. Hematology/Oncology Grand Rounds, University
              of Southern California, Norris Cancer Center
12/07         CLL: 2007 and Beyond. Department of Medicine Grand Rounds. Rosalind Franklin
              Medical School, North Chicago
2/08          A Risk-Stratified Approach to CLL. Hematology and Oncology Grand Rounds.
              University of Alabama, Birmingham
3/09          Relapsed and refractory indolent non-Hodgkin Lymphoma. Rush University
4/09          Chemotherapy Toxicity: Presentation to general surgery residents
8/10          Updates on CLL: 2010 and beyond. Department of Medicine Grand Rounds, Advocate
              Lutheran General Hospital, Park Ridge, IL
4/11          CLL in 2011: Department of Medicine Grand Rounds at Advocate Illinois Masonic
              Hospital, Chicago
11/11         Arzerra in CLL. Grand Rounds at the Illinois University and Simmons Cancer Institute.
2/12          Lymphomas in 2012: Dept. of Family Medicine Grand rounds Lutheran General Hospital
3/12          Immunotherapy for Prostate Cancer. Dept. of Surgery/Urology Grand Rounds at UIC
4/12          Immunotherapy for prostate Cancer. Dept. of Medicine Grand Rounds, Christ Hospital,
              IL
5/12          Maintenance Rituximab in Lymphoma: Discussion. Moll Cancer Center, Cleveland, OH
8/12          Bendamustine in CLL. Rush University Medical Center
1/13          Bendamustine and its indications. Grand Rounds at Mount Sinai Hospital, Chicago, IL
2/14          CLL: Past, Present, and Future. Lecture in the 25th Annual Cancer Updates-2014
              Annual Symposium hosted by the Baptist Health System, San Antonio, TX
4/14          Lymphoma Trials Updates: 2014. Presentation at the 19th annual Phase II Consortium
              sponsored by the University of Chicago, Gleacher center, Chicago, IL
6/14          Prostate Cancer Educational forum for the American urological Association (AUA).
              Case presentations and treatment of advanced castration-resistant prostate cancer
9/15          Follicular Lymphoma prognostication. The University of Chicago Cancer Center
              Translational Science presentation.
11/15         LEAN: Now or Never. The Hematology/Oncology section Grand rounds. The University
              of Chicago Medicine.
12/15         Double Hit Lymphomas: Call for Action. Grand Rounds, Division of
              Hematology/Oncology, The University of Wisconsin Comprehensive Cancer Center,
              Madison, WI.
3/16          Double Hit Lymphomas. Grand rounds at Advocate Lutheran General Hospital, Park
              Ridge, IL
3/16          Updates for ASH (American Society of Hematology). Regional seminar sponsored by the
              University of Chicago Medicine
3/16          Advances in Cancer Management for the Primary Care physician: Prostate Cancer
              Screening Updates. Regional Seminar sponsored by Cancer Treatment Center of
              America.

Regional Nursing Seminars

 9/03         CLL: Hot Topics Presentation. Advocate Lutheran General Hospital
10/03         Chronic Lymphocytic Leukemia and a glance at low-grade Non-Hodgkin’s Lymphoma.
              Holy Family Medical Center Annual Lymphoma and Leukemia Conference.
12/04         New Therapies for Prostate Cancer. Hot Topics Presentation, Lutheran General Hospital
            Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 49 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                              Page 25


6/06           CLL introduction: Nurses talk for Lutheran General Hospital nurses
11/06          Prostate Cancer Targeted therapies: Presentation to the Oncology Nursing Society
               (ONS), Chicago Chapter.
3/12           Lymphoma: Response and Therapy: Presentation to nurses at Lutheran General
               Hospital
3/12           Updates on Large Cell Lymphoma: Presentation to nurses at Lutheran General Hospital

Lectures to Patients and families

4/06           Prostate Cancer for Patients. Talk to US Too prostate support group
1/07           Town Hall Meeting for patients with leukemia, lymphoma, and MDS. Sponsored by
               Leukemia Research Foundation
2/09           Cancer: Evolution in progress. Presentation to the MATSI patient support group.
6/09           New options for prostate cancer: Report from ASCO 2009. Seminar to US Too patient
               support group
1/10           Town Hall Meeting for patients with leukemia, lymphoma, and MDS. Sponsored by
               Leukemia Research Foundation, Chicago, IL
2/10           Lupron no longer works: what’s next? Presentation to US Too patient support group
6/10           Balancing careers with cancer. Talk to cancer patients and their families
1/12           Town Hall Meeting for patients with leukemia, lymphoma, and MDS. Sponsored by
               Leukemia Research Foundation, Chicago, IL
7/12           Updates on Prostate Cancer. US Too presentation
9/12           New treatments for prostate cancer: Community patients outreach program sponsored
               by Advocate Lutheran General Hospital
5/13           Lymphoma Workshop for patients and families: Program sponsored by the Lymphoma
               Research Foundation: Updates on CLL/SLL. Chicago, IL
9/13           Lymphoma Research Foundation: Speaker at the 18th Annual North American
               Educational Forum on Lymphoma: Discussion on Marginal Zone lymphoma: Disease
               Specific biology and treatment options. (500 attendees), New York, NY
1/14           Town Hall Meeting for patients with Lymphoma and leukemia. Meeting is sponsored by
               the Leukemia Research Foundation. Chicago, IL
5/14           Lymphoma Research Foundation: Speaker: CLL, New Drugs in 2014. Chicago, IL
10/14          Ask the Doctor: Chronic lymphocytic Leukemia/Small lymphocytic Lymphoma: on behalf
               of the lymphoma Research foundation. Chicago, IL
1/15           Town Hall Meeting for patients with lymphomas leukemia: Meeting sponsored by the
               Leukemia Research Foundation, Chicago, IL
3/16           Ask the Doctor: CLL Advances. Program sponsored by the lymphoma research
               Foundation

Moderator

 3/05          Antibodies for CLL. Meeting sponsored by Genzyme, Las Vegas
 4/05          Targeted therapies for CLL. Genzyme, Washington, DC
11/06          Campath in CLL. ION presentation. Chicago, IL
11/07          Advances in CLL therapies. ION presentation. Chicago, IL
 6/08          Controversies in front-line CLL therapies: Moderated an advisory board of academic
               and community oncologists, Scottsdale, AZ
4/11           Utilization of Rituximab in lymphoma: ION-Community based seminar, Washington, DC
4/12           Non-Hodgkin Lymphoma and the shift of care: ION-community practice moderator,
               Washington, DC
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 50 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                              Page 26


3/13          Novel Hormonal Therapies in CRPC: Moderated an Advisory Board of community and
              academic oncologists and urologists. Dallas, TX.
4/13          Immunotherapy in Prostate Cancer. Moderating and Advisory Board sponsored by
              Cardinal Health, Miami, FL.
9/13          Moderator at the Cardinal Health Summit, (lecturing to100 community oncologists and
              moderating the entire meeting and advisory boards). “New Horizons in Oncology”, San
              Francisco, CA.
9/13          Moderator for the Steering Committee on developing educational material for GA101
              sponsored by Genentech, Inc.
11/13         Moderator at the Cardinal Health Summit, Dallas, TX
5/14          Co-Chair and moderator for an advisory board and speakers’ steering committee for
              Gilead Pharmaceuticals, San Francisco, CA
6/14          Moderator at the Cardinal Health Summit: Innovative therapies in Oncology. Dallas, TX
7/14          Chair and Moderator for the Steering Committee on Obintuzumab monoclonal antibody,
              Sponsored by Genentech, Inc, Washington, DC
11/14         Moderator and Chair: Cardinal Health Services Summit focused on the “Business in
              Oncology”. Nashville, TN
2/15          Moderator and Chair: Cardinal Health Services Summit: Technology Solutions and
              HEOR in Oncology. Miami, FL
3/15          Moderator and Chair: Cardinal Health Services Summit: personalized Medicine in
              Oncology. Miami, FL.
5/15          Moderator and Chair: Seminar on MPN (PV and CML). Sponsored by Axcess Oncology.
              Los Angeles, CA.
8/15          T-Cell lymphoma Case Insights. Moderating a discussion on managing T-Cell
              lymphoma in a webinar format.
9/15          Moderator and Chair: Cardinal Heath Specialty Solutions. Regional Summit of 50-70
              medical oncologists, focused on informatics. Las Vegas, NV
9/15          Moderator: Maintenance therapy after transplantation for Hodgkin Lymphoma.
              Sponsored by Seattle Genetics. Chicago, IL
11/15         Moderator and chair: Cardinal Health Specialty Solutions. Regional Summit focusing on:
              Clinical Research: Engaging community oncologists in clinical trials. Atlanta, GA.
3/16          Moderator and Chair of the Cardinal Health Regional Summit, Topic: Specialty
              Pharmacy trends in Oncology, Orlando, FL
4/16          Moderator: B-Cell Malignancies and CLL. Newer therapies. Seminar organized by
              Axcess oncology.

Invited Lectures from Industry

 7/06         CLL and its therapies: Advanced training class to Berlex, Seattle, WA
10/06         CLL and new treatments: Advanced training class to Berlex, Seattle, WA
11/07         CLL: Advanced training to marketing/sales teams of Bayer, New Jersey, and NJ
 2/09         Lymphoma: An evolving world: To Genentech marketing and sales staff, South SF
 6/10         Lymphoma and CLL: An evolving world: To Genentech staff, South SF, CA
10/10         Lymphoma: An evolving world: Presentation to sales force at Genentech, South SF, CA
 6/12         Post-ASCO 2012 updates: Presentation to Janssen Global Medical affairs and
              Marketing teams, Chicago, IL
6/12          Introduction to Prostate Cancer and New Drugs. Presentation to the marketing, sales,
              and medical affairs teams at Medivation, Inc.
4/13          Chemotherapy overview for castration-resistant prostate cancer. Presentation to the
              entire sales force of Algeta Pharmaceuticals. Miami, FL
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 51 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                              Page 27


7/13          Academic Advisory Board for B-Cell Malignancies: Sponsored by Genentech, Inc. New
              York, NY
12/13         Gazyva in CLL: Review of the approved indication: Presentation via live webcast and
              moderation of a live question/answer session of CLL thought leaders: Sponsored by
              Genentech, Inc, Dallas, TX.
4/14          Academic Advisory Board for CLL and Lymphoma. Sponsored by Genentech, Inc.
              Chicago, IL
9/14          International Advisory Board on Androgen receptors/Enzalutamide. Sponsored by
              Astellas, Inc. Dubai, UAE
4/15          Academic Advisory Board on Mantle Cell Lymphoma. Sponsored by Celgene. Chicago,
              IL.
7/15          Academic Advisory Board on Non-Hodgkin Lymphoma. Sponsored by Genentech, Inc.
              New York, NY.
10/15         CLL: Introduction to Leadership staff at Abbvie, Inc. Chicago, IL.


Lectures to Community Oncology

10/06         MRD in CLL: A realistic goal? Los Angeles, CA
10/10         Rituximab application in the maintenance setting. Dallas, TX
11/10         Sipuleucel-T in castration-resistant prostate cancer, Oak Brook, IL
11/10         New Immunotherapy for prostate cancer. Indianapolis, IN
 9/11         Ofatumumab in CLL. Peoria, IL
 6/12         Post-ASCO-2012 prostate cancer update: Discussion at P4 Cardinal Health Oncology
              Summit, San Francisco, CA
 9/12         Rituximab in low-grade lymphoma: presentation at ION meeting, Chicago, IL
 4/13         Rituximab in hematologic malignancies, Fort Wayne, IN
 5/13         Rituximab in CLL and its application, Champaign, IL
 5/13         Rituximab in Low-grade non-Hodgkin Lymphoma, Decatur, IL
 5/13         Treating CLL. Lecture to oncology fellows in the Chicago area
10/13         Lymphomas: Central Dupage Hospital, Winfield, IL
11/13         Rituxan in lymphoma, Kankakee, IL.
12/13         Ibrutinib in Mantle Cell lymphoma: Review of disease setting and the approved
              indication, South Barrington, IL
4/14          Ibrutinib in CLL and Mantle cell Lymphoma. Lecture to Little Company of Mary
              Physicians, Evergreen park, IL
5/14          Xtandi and its indications in CRPC. Lecture to community oncology in Decatur, IL
8/14          Lymphoma antibodies: Weiss Memorial Hospital, Chicago, IL
11/15         Indolent Lymphoma and CLL. Lecture to Michiana Oncology, South Bend, IN


INVITED, ELECTED, OR APPOINTED EXTRAMURAL SERVICE

3/09         Chair and organizer, First Annual Trends in Hematology and Oncology for the Health
             Care Provider, Advocate Lutheran General Hospital, Park Ridge, IL
4/09         Invited Faculty, the 6th annual International Chicago Lymphoma Symposium
10/09        Chair and organizer, Seminars in Oncology for the Primary Care provider, Lutheran
             general Hospital
3/10         Chair and organizer, second annual trends in hematology and oncology for the health
             care provider, Advocate Lutheran General Hospital, Park Ridge, IL
4/10         Invited Faculty at the 7th International Chicago Lymphoma Symposium, Chicago, IL
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 52 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                              Page 28


3/11          Chair and organizer, Fourth annual trends in Hematology and Oncology for the Health
              Care Provider, Advocate Lutheran General Hospital, Park Ridge, IL
4/11          Co-Chair and invited faculty, the 8th annual international Chicago Lymphoma
              Symposium, Chicago, IL
9/11-         Participated in moderating several sessions of the Chicago Lymphoma Rounds
              sponsored by the Lymphoma Research Foundation
3/12          Chair and organizer, the 5th annual trends in hematology and oncology for the health
              care provider, Advocate Lutheran general Hospital, Park Ridge, IL
 4/12         Invited faculty, the 9th annual International Chicago Lymphoma Symposium, Chicago, IL
12/12         Abstract Reviewer, Lymphoma category, ASH (American Society of Hematology)
 3/13         Chair and Organizer, the 6th annual trends in hematology and oncology for the health
              care provider, Advocate Lutheran General Hospital, Park Ridge, IL
5/14          Faculty and planning committee member at the 11th Annual International Chicago
              Lymphoma Symposium, Chicago, IL
5/14          Appointed as a member of the Health Disparities committee for the American Society of
              Clinical Oncology (ASCO)
7/14          Selected as a member of the Digital Education working Group for the American Society
              of Hematology (ASH)
4/15          Faculty and abstract reviewer for the 12th Annual International Ultmann Chicago
              Lymphoma Symposium, Chicago, IL
5/16          Faculty and abstract reviewer for the 13th Annual International Ultmann Chicago
              Lymphoma Symposium, Chicago, IL

JOURNAL REVIEWER
     Annals of Internal Medicine
     Annals of Oncology
     Annals of Hematology
     Avicenna Journal of Medicine
     American Journal of Hematology
     Blood
     Bone Marrow Transplantation
     British Journal of Haematology
     Cancer
     Clinical Lymphoma, Myeloma, and Leukemia
     Clinical Genitourinary Cancer
     European Journal of Haematology
     Expert Opinions in Biological Therapy
     Expert Reviews of Hematology
     Haematologica
     International Journal for Hematologic Oncology
     JAMA-Oncology
     Journal of Clinical and Experimental Pathology
     Leukemia and Lymphoma
     Leukemia Research Reports
     Pharmaceuticals

        Editorial Board:
        Leukemia Research and Treatment
        Avicenna Journal of Medicine
        JAMA-Oncology
             Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 53 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                      Page 29


PAST CLINICAL RESEARCH PROTOCOLS (Closed)
(IIT=investigator-initiated trial, PI=Principle investigator, Sub-I=sub-investigator)

            IIT: PI: Phase I/II clinical trial of single agent clofarabine in refractory non-Hodgkin
             lymphoma.
            IIT: PI: Phase II study of oxaliplatin plus docetaxel in front-line therapy for advanced
             metastatic non-small cell lung cancer.
            IIT: PI: Phase II study investigating the combination of velcade, rituximab,
             cyclophosphamide, and dexamethasone (VRCD) in low-grade non-Hodgkin lymphoma.
            Sub-I: Phase II study of fludarabine, cyclophosphamide followed by Campath-1H in
             previously untreated CLL patients. (PI: Steve Coutre, Stanford University)
            IIT: PI: Phase I/II study of rituximab plus campath in refractory and/or relapsed CLL.
            IIT: PI: Phase II trial of Mylotarg as first line therapy in AML patients >65 years of age.
            IIT: PI: Phase II study with single agent erlotinib in chemotherapy-naïve castration-resistant
             prostate cancer
            IIT: PI: Phase II study with single agent temsirolimus in chemotherapy-naïve castration-
             resistant prostate cancer
            IIT: PI: Phase II study of single agent lenalidomide in chemotherapy-naïve castration
             resistant prostate cancer
            IIT: PI: Phase I/II study to evaluate the ability of sorafenib to overcome chemotherapy
             resistance in patients with castration-resistant prostate cancer
            IIT: PI: Phase I study combining imatinib mesylate and sorafenib in refractory castration-
             resistant prostate cancer
            IIT: PI: Phase II study to evaluate maintenance GM-CSF in patients with castration-resistant
             prostate cancer who maximized their response to chemotherapy


TEACHING

2003 - 2013      Participation in the in-patient Hematology and Oncology service (4 weeks/year).
                 Advocate Lutheran General Hospital, Park Ridge, IL
2003 - 2013      Malignant hematology and prostate cancer lectures to students and residents (2-4/year).
                 Advocate Lutheran General Hospital, Park Ridge, IL
2006 - 2009      Development of the in-patient fellowship program curriculum, Advocate Lutheran
                 General Hospital
2008 - 2013      Board Review for Internal Medicine residents (twice/yearly). Advocate Lutheran General
                 Hospital, Park Ridge, IL
2009 - 2012      Program Director, Hematology and Oncology Fellowship Program, Advocate Lutheran
                 General Hospital
4/2011            Participation in Fellowship Workshop and Curriculum Vitae writing for Internal Medicine
                 Residents. Advocate Lutheran General Hospital, Park Ridge, IL
4/2012           Participation in Fellowship Workshop for the Internal Medicine Residency Program.
                 Advocate Lutheran General Hospital, Park Ridge, IL
2008 - 2013      Supervising the Hematology/Oncology outpatient clinic (1/2 day weekly throughout).
                 Advocate Lutheran General Hospital, Park Ridge, IL
2009 - 2012      Moderating Hematology and Oncology Fellowship Journal Club (once/month). Advocate
                 Lutheran General Hospital, Park Ridge, IL
2009 - 2012      Organizing and moderating fellows’ research talks/seminars (once every 8 weeks).
                 Advocate Lutheran General Hospital, Park Ridge, IL
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 54 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                 Page 30


2010 - 2013   Moderator, Chest Tumor multidisciplinary conference (once/week). Advocate Lutheran
              General Hospital, Park Ridge, IL
2010 - 2013   In-service lectures for the BMT and oncology nurses at Advocate Lutheran general
              Hospital, Park Ridge, IL (Once or twice/year)
2013 -        Teaching residents on the inpatient service at the University of Chicago (4 weeks/year)
2013 -        Participation in the teaching of Hematology and Oncology fellows at the University of
              Chicago Comprehensive Cancer Center

MENTORSHIP

2005 - 2008   Brit Hanson
              Mentored a resident through her writing of a protocol to review Mediastinal lymphomas
              outcomes. She completed her Fellowship in Hematology and Oncology at Loyola
              University of Chicago and is now practicing at North Shore University Health System in
              Evanston, IL focusing on GU malignancies and immunotherapy
2006 - 2009   Ewelina Morowa
              Mentored as a resident at Lutheran General Hospital. Supervised her research and case
              reports. She completed her fellowship in Hematology and Oncology at Cornell
              University and then completed a BMT fellowship at Memorial Sloan Kettering Cancer
              Center. She is currently a scientist researcher with Novartis pharmaceuticals.
2007 - 2010   Benjamin Parsons
              Mentored as a resident at Lutheran General Hospital. He completed 3 research projects
              under my supervision and won the Research of the Year award for his residency class.
              Benjamin is completed his Hematology and Oncology Fellowship at Loyola University of
              Chicago, Maywood, IL. Graduated in 6/2013 and joined a private practice in
              Indianapolis, IN
2006 - 2009   Avanthi Ragam
              Mentored as a Fellow in Hematology and Oncology at Lutheran General Hospital. She
              co-authored two review articles and two case reports and is now a practicing Oncologist
              with Cadence Health System
2007 - 2010   Abhi Nair
              Mentored as a Fellow in Hematology and Oncology at Lutheran General Hospital. She
              was a first author on an original phase II study and co-authored a case report and an
              editorial. Subsequently, she completed advanced Fellowship at the NIH and is currently
              working as an officer for the FDA
2009 - 2012   Angelica Tolentino
              Mentored as a Fellow in Hematology and Oncology at Lutheran General Hospital. She
              wrote two papers while in training and is now a practicing Oncologist at Palos Heights
              Hospital.
2010 - 2013   Kimberly Kruczek
              Mentored as a resident where she co-wrote several reviews and abstracts. She is a
              Fellow in Hematology/Oncology at Loyola University (2013-2016)
2010 - 2013   Anand Patel
              Mentored as a resident and supervised his research project. He is a Hospitalist at
              Lutheran General Hospital as of July 2013.
2010 - 2013   Andrew Meyer
              Mentored as a resident and supervised his research projects. He is a Fellow in
              Hematology/Oncology at Lutheran General Hospital (2013-2016). Dr. Meyer won the
              best research poster award in the Advocate Research Forum in 2012.
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 55 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                 Page 31


2010 - 2013   Peter Cygan
              Mentored as a resident at Lutheran General Hospital and supervised his research in
              prostate cancer. Dr. Cygan is a Hematology Fellow at Hershey, PA (graduating in 2016)
2011 - 2013   Shadi Latta
              Mentored as a Fellow in Hematology and Oncology at Advocate Lutheran General
              Hospital (2011-2014) as he worked on several projects and manuscripts in the field of
              lymphoma. He is now a practicing oncologist at Palos Hospital.
2009 - 2013   Neil Dalal
              Mentored as a resident working on several review articles. Supervised his first year of
              Fellowship training in Hematology/Oncology at Advocate Lutheran General Hospital. He
              graduated in July 2015 and is in private practice in the Chicago area.
2013-         Natalie Galanina
              Mentored as a fellow working on CLL and lymphoid malignancies. She is expected to
              graduate in 2016



SERVICE

Committee Memberships:

9/04 - 6/13   Pharmacy and Therapeutics (P+T) committee at Advocate Lutheran General
              Hospital
10/04 - 10/06 IRB (Institutional Review Board) member of Rush North Shore Medical Center,
              Skokie, IL
2005 - 2009 Hematology and Oncology Fellowship Program Start-up Committee. Advocate Lutheran
              General Hospital, Park Ridge, IL
2006 - 2013 Chair of the Organizing committee of the Annual Hematology/Oncology Symposium at
              Advocate Lutheran General Hospital, park Ridge, IL
2007 -        Member of CIBMTR working committee on acute leukemias
2009-2011     Member of the QOPI implementation committee at Oncology Specialists, SC, Park
              Ridge, IL. Participated in the process that eventually led to the QOPI certification in
              2011.
7/10 - 12/12 Graduate Medical Education Committee (GMEC) at Advocate Lutheran General
              Hospital, Park Ridge, IL
2011 - 2013 Clinical Research Steering Committee at Advocate Lutheran general Hospital, Park
              Ridge, IL
2012 - 2013 Cancer Committee Member, Advocate Lutheran General Hospital, Park Ridge, IL
2011 - 2013 Chair of the Council of Advisors Committee for Oncology: A committee of patients,
              administrators, and health care providers formed to improve oncology service line from a
              community perspective.
2013 - 2014 Member of the Network Development Committee, the University of Chicago
              Comprehensive Cancer Center, Chicago, IL
2013 -        Member, Leadership Committee, Section of Hematology and Oncology, The University
              of Chicago, Chicago, IL
2013 -        Member, Quality Affairs Committee, Section of Hematology and Oncology, The
              University of Chicago, Chicago, IL
2013 -        Member, Ambulatory Operations Committee, the University of Chicago, Chicago, IL
2013 - 2015 Member at Large, the Board of the Illinois Medical Oncology Society (IMOS)
2013 - 2014 Member, Portfolio Strategy Work Group, the University of Chicago Comprehensive
              Cancer Center
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 56 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                               Page 32


2013 - 2014   Member, Cancer Operations/Facilities Strategy Work Group, the University of Chicago
              Comprehensive Cancer Center
2013 - 2015   Leading member and physician champion at the University of Chicago. The
              Committee that led to gaining QOPI certification. QOPI certification was granted
              7/2015 t0 7/2018
2014 -        Member, Oncology Drugs Safety Committee, the University of Chicago Medicine
2013-2014     Physician Sponsor/Lead of My-Chart initiative: Responsible for implementing this
              web-based patients’ portal across the University of Chicago and its departments.
2014-         Member of the task force addressing length of stay for oncology inpatients at the
              University of Chicago Medicine
2014-         Member of the Steering Committee for Cancer Strategy Implementation Group. The
              University of Chicago Medicine
2014-         Member of the Committee on implementing the Nurse Navigator system at the University
              of Chicago Medicine; Section of Hematology/Oncology; Outpatient Cancer Center
2014-2015     Key Clinical Faculty (KCF) for the Hematology/Oncology Fellowship Program at the
              University of Chicago Medicine.
2015-         Member of the CTRC (Clinical Trials Research Committee) at the University of Chicago
              Medicine
2014-         Member, Quality Committee, The University of Chicago medicine, Chicago, IL
2015-         Member, Ambulatory Quality and Safety Committee, the University of Chicago Medicine,
              Chicago, IL


Hospital Appointments (past and present):

7/98 - 7/99   Ingalls Memorial Hospital, Harvey, IL
7/02 -7/04    Little Company of Mary Hospitals, Evergreen Park, IL
7/02 - 2/03   Saint Francis Hospital, Blue Island, IL
7/02 - 2/03   Holy Cross Hospital, Chicago, IL
7/02 - 1/09   Advocate Christ Medical Center, Oak Lawn, IL
6/03 - 1/09   Rush North Shore Medical Center (now Skokie Hospital)
1/09 - 1/12   Glenbrook Hospital, Glenbrook, IL
3/03 -        Advocate Lutheran General Hospital, Park Ridge, IL
7/13 -        The University of Chicago Hospitals, Chicago, IL


Leadership Roles:

2005 - 2013   Partner and member of the Board of Directors at Oncology Specialists, S. C., Park
              Ridge, IL
2006 - 2009   Director of the in-patient service for the Hematology/Oncology Fellowship Program at
              Advocate Lutheran General Hospital, Park Ridge, IL
2008 - 2013   Director and Chief, Division of Hematology and Medical Oncology, Department of
              Medicine, Advocate Lutheran General Hospital, Park Ridge, IL
2009 - 2012   Program Director, Hematology and Oncology Fellowship Program, Advocate Lutheran
              General Hospital, Park Ridge, IL
2012 - 2013   Assistant Program Director, Hematology/Oncology Fellowship Program, Advocate
              Lutheran General Hospital, Park Ridge, IL
2008 - 2013   Chair, The Oncology Service Line Strategic Committee, Advocate Lutheran General
              Hospital, Park Ridge, IL
2012 - 2013   Medical Director, Advocate Lutheran General Hospital Cancer Institute, Park Ridge, IL
          Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 57 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                                  Page 33


2013 -        Medical Director, Ambulatory outpatient Clinical Cancer Center, Cancer Clinics, and
              Clinical Operations, The University of Chicago Comprehensive Cancer Center, Chicago,
              IL
2013 -        Member of The Leadership Committee in the Section of Hematology and Oncology at
              the University of Chicago, Chicago, IL
2013 -        Member of the Board of the Illinois Medical Oncology Society (IMOS)
2013 -        Physician Champion and Project Sponsor: MY-Chart. A project to implement
              patient portal through the EPIC-EMR throughout the University of Chicago, Department
              of Medicine
2013 -        Director and Scientific Advisor, the Double Hit Lymphoma Foundation; a foundation
              established to raise awareness of this aggressive lymphoma to help design clinical trials
              for this particular entity. www.tdhlf.org
2014-         Physician lead and Champion for the QOPI implementation program at the
              University of Chicago. Lead the efforts that culminated in attaining the prestigious QOPI
              certification
2014-         Medical Director, international Program-Cancer Service line. The University of Chicago
2015-2017     President-Elect: The Illinois Medical Oncology Society (IMOS). To assume presidency
              in 2017

Other:

2004 - 2013   Interviewer of the Internal Medicine Residency program applicants at Advocate Lutheran
              General Hospital, Park Ridge, IL
2009 - 2013   Interviewer of the Hematology and Oncology Fellowship Program, Lutheran General
              Hospital, Park Ridge, IL
2012 - 2013   Chair, Search Committee for the BMT Directorship position at Advocate Lutheran
              General Hospital, Park Ridge, IL. Position filled successfully
2012 - 2013   Search committee for the neuro-oncology director at Advocate Lutheran General
              Hospital, Park Ridge, IL
2012 - 2013   Organizing committee to start the Center for Thoracic Diseases at Advocate Lutheran
              General Hospital, Park Ridge, IL. The center launched successfully in February 2013
2011 - 2013   Chair of the Council of Advisors, a committee of community and hospital leadership to
              improve cancer service line and patient satisfaction at Lutheran General Hospital
2013 -        Interviewer for the Hematology/Oncology Fellowship Program at the University of
              Chicago, Chicago, IL
2013 -        Interviewer for the Internal Medicine Residency Program at the University of Chicago,
              Chicago, IL
Various       Grant Reviewer for the UK Research fund/CLL

BASIC SCIENCE RESEARCH EXPERIENCE

1994 - 1995   Research fellow/associate in the Endocrine Unit at Massachusetts General Hospital and
              Harvard Medical School, Boston, MA. Worked in molecular endocrinology investigating
              the functional differences between the human Corticotropin-Releasing Factor receptors.
              Became familiar with cell culture, Western blots, and PCR technology.
              Laboratory of: Abdul Abou-Samra, MD, PhD.
              Laboratory of: Henry Kronenberg, MD, PhD.

2000 - 2002   Northwestern University Medical School and Robert H. Lurie Comprehensive Cancer
              Center. Investigated nucleoside analogues-induced programmed cell death in several
         Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 58 of 61
Chadi Nabhan, M. D., F. A. C. P. (MBA-7/2016)                                               Page 34


              myeloma cell lines. Became familiar with various apoptosis assays and flow cytometry.
              Laboratory of: Steven T. Rosen.


REFERENCES
Available upon request
Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 59 of 61




Attachment B
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 60 of 61




Documents reviewed by Dr. Nabhan
Published scientific literature:
Lightfoot et al; (2006).
Acquavella et al. (2016)
Andreadis; (2007)
Bolognesi (2009)
Bolognesi et al. (2016)
Brammer et al
Brusick et al. (2016)
Cantor et al (1992)
Chang & Delzell (2016)
Chruscielska et al, (2000)
De Roos et al (2003)
De Roos et al. (2005)
DeFarge et al. (2016)
Eriksson et al (2008)
Fritschi et al, (2005)
George et al; (2013)
Greim et al. (2015)
Hardell (1999)
Hardell (2002)
Jain et al; (2015)
Kato et al. (2004)
Kier & Kirkland (2013)
Kwiatkowska et al, (2014)
Lan et al. (2007)
Lee et al; (1999)
Lioi ei al, (1998)
      Case 3:16-md-02741-VC Document 648-7 Filed 10/27/17 Page 61 of 61




Lueken et al, (2004)
McDuffie et al. (2001)
Mink et al. (2015)
Nordstrom et al. (1998)
Orsi et al (1999)
Pazy-Mino (2011)
Peluso et al (1998)
Portier et al (2016)
Rubio et al. (2014)
Samsel & Seneff (2015)
Schinasi et al. (2014)
Sivikova (2009)
Wang et al. (2006)
Williams et al. (2016)
Depositions and exhibits thereto:
Donna Farmer, PhD.
David Saltmiras, PhD.
William Heydens, PhD.
MONGLY Production:
MONGLY01314233 et seq.
Other:

IARC Monograph 112
EPA SAP Panel Final Minutes and Report
